Case 1:03-md-01570-GBD-SN   Document 10594-38   Filed 12/09/24   Page 1 of 55




                             Exhibit 38
    Plaintiffs’ Corrected Averment of Jurisdictional Facts and
Evidence and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
Case 1:03-md-01570-GBD-SN                 Document 10594-38            Filed 12/09/24        Page 2 of 55

                            SUBJECT TO MDL AND FBI PROTECTIVE ORDERS                                 EXHIBIT

                                                                                                  PASLEY 4 01/31/2024 dv
                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF NEW YORK



 In re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD) (SN)
                                               ECF Case

This document relates to:

Underwriting Members of Lloyd’s Syndicate 2, et al., v. Al Rajhi Bank, et al., No. 16-cv-07853
Addesso, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-09937
Aguilar, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-09663
Hodges, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-00117
Aiken, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-00450
Charter Oak Fire Insurance Co., et al. v. Al Rajhi Bank, et al., No. 17-cv-02651
Abarca, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-03887
Arrowood Indemnity Co., et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-03908
Abedhajajreh, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-06123
Muenchener Rueckversicherungs-Gesellschaft Aktiengesellschaft in Muenchen, et al. v. Kingdom of Saudi
Arabia, et al., No. 17-cv-07914
Abbate, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-08617

                              Expert Report of Evan F. Kohlmann
I.      Qualifications

         My full name is Evan Francois Kohlmann. I am a private International Terrorism Consultant who
specializes in tracking Al-Qaida and other contemporary terrorist movements. I hold a degree in
International Politics from the Edmund A. Walsh School of Foreign Service (Georgetown University), and
a Juris Doctor (professional law degree) from the University of Pennsylvania Law School. I am also the
recipient of a certificate in Islamic studies from the Prince Alwaleed bin Talal Center for Muslim-Christian
Understanding (CMCU) at Georgetown University. I currently work as the founder and CEO of Cloudburst
Technologies, a New York-based technology enterprise which detects and alerts on digital currency fraud.
Previously, I was the co-founder and Chief Innovation Officer at Flashpoint, a New York-based threat
intelligence firm focused on harvesting data from the deep and dark web. I additionally previously served
an on-air terrorism analyst for NBC News in the United States from 2004 to 2021. I am author of the book
Al-Qaida’s Jihad in Europe: the Afghan-Bosnian Network (Berg/Oxford International Press, London, 2004),
which has been used as a teaching text in graduate-level terrorism courses offered at such educational
institutions as Harvard University’s Kennedy School of Government, Princeton University, and the Johns
Hopkins School of Advanced International Studies (SAIS).

         As part of my research beginning in approximately 1997, I have traveled overseas to interview
known terrorist recruiters and organizers (such as Abu Hamza al-Masri) and to attend underground
conferences and rallies; I have reviewed thousands of open source documents; and, I have amassed one
of the largest digital collections of terrorist multimedia and propaganda in the world. The open source
documents in my collection include sworn legal affidavits, original court exhibits, video and audio

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Case 1:03-md-01570-GBD-SN                  Document 10594-38               Filed 12/09/24     Page 3 of 55

                            SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


recordings, text communiqués, eyewitness testimonies, and archived Internet websites. I have also
personally developed computer software and SQL database applications in Python, Javascript, and PHP
language designed to draw out this data and provide statistical trends and models to human analysts.

          I have testified on twelve occasions as an expert witness in jurisdictions beyond the United
States—including the United Kingdom, Denmark, Australia, Switzerland, and Bosnia-Herzegovina. I have
testified four times as an approved expert witness in U.S. civil cases—Gates v. Syrian Arab Republic and
Amduso v. Sudan, before the U.S. District Court for the District of Columbia, as well as Linde et al. v. Arab
Bank PLC, before the U.S. District Court for the Eastern District of New York and Khan v. U.S. Citizenship
and Immigration Services in the U.S. District Court for the Southern District of Florida.

        I have additionally testified as an approved expert witness on behalf of the prosecution in
United States federal and military courts in thirty-five criminal cases, including:

        United States v. Sabri Benkhala (Eastern District of Virginia, 2004)

        United States v. Ali Timimi (Eastern District of Virginia, 2005)

        United States v. Uzair Paracha (Southern District of New York, 2005)

        United States v. Ali Asad Chandia (Eastern District of Virginia, 2006)

        United States v. Yassin Aref (Northern District of New York, 2006)

        United States v. Sabri Benkhala (Eastern District of Virginia, 2007)

        United States v. Rafiq Sabir (Southern District of New York, 2007)

        United States v. Emaddedine Muntasser (District of Massachusetts, 2007)

        United States v. Hassan Abu Jihaad (District of Connecticut, 2008)

        United States v. Mohammed Amawi et al. (Northern District of Ohio, 2008)

        United States v. Salim Hamdan (Guantanamo Bay Military Commissions, 2008)

        United States v. Ali Hamza al-Bahlul (Guantanamo Bay Military Commissions, 2008)

        United States v. Mohamed Shnewer et al. (District of New Jersey, 2008)

        United States v. Oussama Kassir (Southern District of New York, 2009)

        United States v. Syed Haris Ahmed (Northern District of Georgia, 2009)

        United States v. Ehsanul Sadequee (Northern District of Georgia, 2009)

        United States v. Pete Seda et al. (District of Oregon, 2010)

        United States v. Betim Kaziu (Eastern District of New York, 2011)

        United States v. Daniel Boyd et al. (Eastern District of North Carolina, 2011)

        United States v. Barry Walter Bujol Jr. (Southern District of Texas, 2011)

        United States v. Tarek Mehanna et al. (District of Massachussetts, 2011)

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 Case 1:03-md-01570-GBD-SN                  Document 10594-38              Filed 12/09/24     Page 4 of 55

                            SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


        United States v. Patrick Nayyar (Southern District of New York, 2012)

        United States v. Adis Medunjanin (Eastern District of New York, 2012)

        United States v. Anes Subasic (Eastern District of North Carolina, 2012)

        United States v. Mohammed Nisar Khan (Western District of Texas, 2012)

        United States v. Mohamed Mohamud (District of Oregon, 2013)

        United States v. Abdel Hameed Shehadeh (Eastern District of New York, 2013)

        United States v. Sulaiman Abu Ghaith (Southern District of New York, 2014)

        United States v. Mustafa Kamel (Southern District of New York, 2014)

        United States v. Sami Osmakac (Middle District of Florida, 2014)

        United States v. Soheil Kabir et al. (Central District of California, 2014)

        United States v. Abid Naseer (Eastern District of New York, 2015)

        United States v. Fazliddin Kurbanov (District of Idaho, 2015)

        United States v. Abdul Malik Abdul Kareem (District of Arizona, 2016)

        United States v. Ibrahim Suleiman Adnan Adam Harun (Eastern District of New York, 2017)

      Additionally, I recently testified as an expert witness on behalf of the District Attorney’s Office of
New York County in the criminal trial of State of New York v. Trevor William Forrest (2022).

         In United States v. Uzair Paracha, Federal District Judge Sidney Stein held a Daubert hearing on
my qualifications as an expert witness and issued a ruling concluding: “Evan Kohlmann has sufficient
education, training, and knowledge to be qualified as an expert, and… Kohlmann’s methodology—that is,
his process of gathering sources, including a variety of original and secondary sources, cross-checking
sources against each other, and subjecting his opinions and conclusions to peer review—is sufficiently
reliable to meet the standards for admissibility of expert testimony set by the Federal Rules of Evidence.”

        In United States v. Hassan Abu Jihaad, Federal District Judge Mark Kravitz held a Daubert hearing
on my qualifications as an expert witness and issued a ruling concluding, “Mr. Kohlmann is certainly
qualified to provide expert testimony.... Mr. Kohlmann is qualified by means of his education, training,
background, and experience to testify as an expert on terrorism.... Mr. Kohlmann has conducted first-
hand interviews of several leaders of terrorist organizations and has reviewed reams of information about
al Qaeda... and the other subjects on which he will offer testimony. Indeed... it is apparent that these
subjects are Mr. Kohlmann’s life work, and he has, therefore, acquired a considerable amount of
information and documentation on these subjects.... Mr. Kohlmann’s work receives a considerable
amount of peer review from academic scholars and others, and by all accounts, Mr. Kohlmann’s work is
well regarded.”

       During United States v. Syed Haris Ahmed, Federal District Judge William S. Duffey, Jr., held a
Daubert hearing on my qualifications as an expert witness, and noted in his published ruling, “Kohlmann
has developed an understanding of terrorist organization structures, operations, and membership,

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    Case 1:03-md-01570-GBD-SN               Document 10594-38             Filed 12/09/24         Page 5 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


allowing him to speak with authority about Al-Qaeda in Iraq, Lashkar-e-Taiba, and Jaish-e-Mohammed.
His research and experience have provided him a base of understanding far greater, and far more
sophisticated, than of the Court or of jurors.... A person lacking Kohlmann’s advanced knowledge of JeM
and LeT essentially would not be able to recognize the information on Khan’s hard drive as information
that might link a person to JeM or LeT.”

        On February 4, 2011, the United States Circuit Court of Appeals, Second Circuit, issued a formal
ruling regarding the admissibility of my testimony during United States v. Rafiq Sabir (2007), stating:
“Kohlmann has, in fact, been qualified as an expert on al Qaeda and terrorism in a number of federal
prosecutions.... Kohlmann’s proposed expert testimony had a considerable factual basis.... We conclude
that the district court acted well within its discretion in concluding that Kohlmann’s testimony satisfied
the enumerated requirements of Rule 702. . . . Such testimony was plainly relevant to mens rea.”

           I have included a copy of my CV with this report labeled as Appendix 1.

II.        Scope of the Assignment

        Based on my knowledge, experience, review of thousands of open-source documents and
documents produced in discovery, and using the methodology and principles described below, I have been
asked to provide expert testimony concerning:

       •   The degree to which the Al-Rajhi family of Saudi Arabia has provided financial support to
           international terrorist activity, specifically including Al-Qaida;
       •   The degree to which Al-Rajhi Banking and Investments has provided financial services to
           international terrorist financing schemes, specifically including Al-Qaida; and,
       •   The degree to which the Al-Rajhi family has provided other forms of support for international
           terrorism and violent extremism.

        I am being compensated at a rate of $400 per hour for my work and testimony in this matter. I
have attached a list of reliance materials from this report as Appendix 2.

III.       Research and Archival Methodology

        The social science methodology I have employed to formulate my expert opinion is known as
comparative analysis, which “holds a central place in social science research.”1 Terrorism is generally a
rare phenomenon comprised of a small number of incidents and a fringe group of secretive actors. In the
absence of a large pool of reliable data points or controls, strict statistical or quantitative social science
methods can often be of uncertain reliability and can even produce misleading results. In contrast, my
research methodology is “case-oriented,” with the aim to juxtapose “rich descriptions of a few instances
of a certain phenomenon” and to distill a common, accepted narrative.2 However, this approach is not
“just a second-best one imposed by the availability of data; rather, it is justified by its capacity to go




1
  Della Porta, Donatella and Michael Keating. Approaches and Methodologies in the Social Sciences. Cambridge
University Press (2008), at p. 198.
2
  Della Porta, Donatella and Michael Keating. Approaches and Methodologies in the Social Sciences. Cambridge
University Press(2008), at p. 198.

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Case 1:03-md-01570-GBD-SN                   Document 10594-38             Filed 12/09/24         Page 6 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


beyond descriptive statistical measures, towards an in-depth understanding of historical processes and
individual motivations.”3

         In order to create the most accurate historical narrative, information is weighted according to the
credibility of its source: primary, secondary, or tertiary. In the study of terrorism, an example of a primary
source would be directly witnessing a terrorist attack or interviewing a representative of a terrorist
organization. Quite obviously, such sources would be few and far between, so researchers such as myself
often are also compelled to rely heavily on secondary sources.

         An example of a secondary source in my field would be a video-recorded speech by a terrorist
leader obtained through official sources, internal organizational records, original magazines published by
the official media wing of a terrorist organization, or the official website of such a group. While not quite
the same as witnessing an event live, secondary sources provide a rich, highly compelling level of detail
directly from the voices of actors who are centrally involved in the events we actively study. In the field
of terrorism, secondary sources can also be relatively challenging to obtain, in that they can require
specialized knowledge of the communications mechanisms employed by extremists; however, they are
generally far more available for access and study by savvy researchers.

         Tertiary sources would include newspaper and magazine articles written by outside observers,
topical papers published by academics, and other relevant commentary from experts in the field. While
such materials can be undoubtedly helpful to establish general context or to identify issues of scholarly
debate, researchers generally avoid relying wholesale on the content of tertiary sources, absent some
supporting primary or secondary source information.

         Upon classifying research material according to its credibility, analysts must still also assess
information contained therein for potential issues of bias. Obviously, no matter how authentic a speech
by a terrorist leader may be, this is still not an absolute guarantee that the facts or perspectives provided
in the speech are a completely accurate depiction of reality.

        The methodology of comparative analysis as described above is employed by countless other
researchers in the field of terrorism—as well as a wide variety of other subjects. As stated by Judge Brian
Cogan of the Eastern District of New York, formulating conclusions based on “reviewing primary,
secondary, and tertiary sources, and then exercising judgment about which are corroborated or otherwise
believed to be credible, and which should not be accepted… seems to me no different than, for example,
the exercise a historian would undertake to determine the precise location of the Battle of Hastings, or
the troop size or unit strength of the combatants.” In other words, according to Judge Cogan, our essential
“methodology strikes me as little, if at all, different than most qualitative political science research.”4

        During a May 2009 Daubert hearing before Judge William S. Duffey Jr. in the Northern District of
Georgia, I explained the process of “comparative analysis” and how I rely upon it when making
determinations of fact. This testimony was subsequently summarized by Judge Duffey in his own
published ruling qualifying me as an expert:


3
  Della Porta, Donatella and Michael Keating. Approaches and Methodologies in the Social Sciences. Cambridge
University Press(2008), at p. 202.
4
  Order by Judge Brian M. Cogan resulting from Daubert hearing for Evan Kohlmann. United States v. Adnan
Ibrahim Harun A Hausa. U.S. District Court for the Eastern District of New York (EDNY). February 10, 2017.

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                                                              FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                        Document 10594-38            Filed 12/09/24     Page 7 of 55

                                 SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


           The basis for Kohlmann’s testimony, generally, is his years of research and tracking of
           terrorist information, through websites, primary interviews, books, news articles, and
           journals, and other information. His testimony essentially synthesizes these concepts,
           and through the use of the comparative analysis methodology, Kohlmann has developed
           an understanding of terrorist organization structures, operations, and membership…
           Kohlmann testified in detail regarding the methodology of comparative analysis, how it is
           relied upon by experts in social sciences, and how the particular information he gathers
           allows him to perform reliable analysis. He specifically testified to how he gathers and
           analyses information from primary, secondary, and tertiary sources, and he explained the
           difference between the sources and why and how he relies on each differently. He further
           explained how comparative analysis is performed, assimilating the relevant information
           and comparing and contrasting sources against one another to form a cohesive whole.
           The sources Kohlmann uses and the methodology he employs to analyze those sources,
           are identical to those used by other experts in his field. Kohlmann explained his
           methodology and how he used the methodology to arrive at his opinions in this case. The
           defendants did not offer any evidence at the hearing or subsequent to it to suggest that
           Kohlmann’s methodology is not sound or is not the same methodology typically relied
           upon by other social scientists… Mr. Kohlmann’s ability to synthesize that information
           through comparative analysis establishes his qualification as an expert.

IV.        Summary of Professional Opinions and Conclusions

        Based on the methodology and principles described above, and available evidence, my
professional opinions, to a reasonable degree of certainty, are as follows:

       •   In the period before the September 11, 2001 terrorist attacks, the Al-Rajhi family, and Sulaiman
           Abdel Aziz al-Rajhi in particular, transferred substantial financial donations to fraudulent charities
           and other conduits that provided key financial and logistical support to Al-Qaida.
       •   Additionally, Al-Rajhi Bank provided bank accounts and financial services to among the most
           important fraudulent charities and other conduits that provided key financial and logistical
           support to Al-Qaida, as well as key players in the 9/11 terror attacks.
       •   Furthermore, there is evidence that the Al-Rajhi family and/or Al-Rajhi family charities established
           by Sulaiman Abdel Aziz al-Rajhi encouraged and/or fostered the spread of Al-Qaida's ideology,
           aiding in the recruitment and indoctrination of key Al-Qaida and jihadist leaders around the world.

V.         Discussion of Professional Opinions and Conclusions

         Sulaiman Abdel Aziz al-Rajhi is the founder and longtime chairman of Al-Rajhi Bank, formerly Al-
Rajhi Banking & Investment Corporation, one of the largest banks in Saudi Arabia and headquartered in
the city of Riyadh. In addition to their major financial enterprise, Al-Rajhi and his brothers also founded a
“committee” to facilitate their donations to Islamic causes.5 Sulaiman Abdel Aziz al-Rajhi thereafter
established his own Islamic charity office known as the SAAR Foundation (SAAR being an acronym for
Sulaiman Abdel Aziz al-Rajhi) that included a branch in the United States. According to CIA documents



5
    Al Rajhi Exhibit, ARB 50, Deposition of Abdullah bin Sulaiman al Rajhi.

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                                                                    FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                    Document 10594-38               Filed 12/09/24         Page 8 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


obtained by Plaintiff’s counsel, Sulaiman “devoutly practices Wahhabism, wearing a full-length beard and
traditional Wahhabi garments” and “has been widely reported to support Islamic extremist policy.”6

         Sulaiman al-Rajhi and the al-Rajhi family have surfaced numerous times in the investigation of Al-
Qaida terrorist financing in the Persian Gulf. Al-Qaida is an international terrorist organization founded
in approximately September 1988 by foreign fighters on the Afghan-Pakistani border and led (until 2011)
by Saudi national Usama Bin Laden. Since its inception, as part of its self-declared religious “holy war”
against the Western world, Al-Qaida has supported and organized terrorist attacks targeting the United
States and its allies, culminating in the September 11, 2001 attacks on the United States. At least as early
as 1992, bin Laden began advocating “jihad” or Holy War against the United States, and Al-Qaida issued
public fatwas calling for attacks against the United States in 1996 and 1998. Al-Qaida provided support
for the 1993 attacks against U.S. soldiers in the battle of Mogadishu and for a 1995 Philippine-based plot
to attack U.S. flag airliners mid-flight, and was responsible for the 1998 bombings of the U.S. Embassies
in Kenya and Tanzania, the 2000 attack on the U.S.S. Cole, and, of course, the September 11 attacks. Since
at least October 1999, Al-Qaida has been repeatedly designated and blacklisted by the United States
government as a Foreign Terrorist Organization (FTO), making it illegal for anyone to provide services or
support to it.

          Over the years that Al-Qaeda was carrying out its mission to attack the United States, Al-Rajhi
Bank provided financial services to a variety of Al-Qaida members, associates, and financial fronts—
including alleged recruiters and suicide hijackers involved in the September 11 attacks.7 The Al-Rajhi
family name appeared on the “Golden Chain” document, which the United States has described as a secret
list of the 20 most prominent donors to the Al-Qaida network in the Arabian Gulf region dating from the
late 1980s.8 An undated CIA report obtained by Plaintiff’s counsel in this litigation identified the Al-Rajhi
family as “a key financial backer of the Afghan Mujahideen.”9 According to a second CIA document
obtained by Plaintiff’s counsel, “Islamic extremists have used Al-Rajhi Banking and Investment
Corporation since at least the mid-1990s as a conduit for terrorist transactions, probably because they
find the bank’s vast network and adherence to Islamic principles both convenient and ideologically
sound.”10 The same document noted that “Several al-Qaida-linked individuals and organizations have
held bank accounts at Al-Rajhi.”11. Other CIA documents specifically note that “al-Qaida members have


6
  CIA-SUB 0004; CIA 149-150.
7
  CIA 317-338 at 338 (“[Redacted] ‘Sheikh Rajhi,’ [Redacted] deposited [Redacted] into a [Redacted] bank account
controlled by Maktab al-Khidamat, an Islamic charity closely associated with Usama Bin Ladin since the early
1980s.”); CIA 807-848 at 830 (“Members of the ultra-wealthy Al Rajhi family, which owns the Riyadh-based Al Rajhi
Banking and Investment Company, probably are a source of financial support for Usama’s al-Qa’ida organization.
[Redacted] a ‘shaykh Rajhi’ – [Redacted] deposited [Redacted] into the [Redacted] bank accounts of the Maktab al-
Khidamat.”).
8
  Simpson, Glenn R. “List of Early al Qaeda Donors Points to Saudi Elite, Charities.” The Wall Street Journal. March
18, 2003.
9
  CIA 720-804 at 743 (“[REDACTED] 1997, [Redacted)] a ‘Sheikh Rajhi’ deposited [Redacted] into [Redacted]
bank accounts held by the director of Maktab-ul Khedamat (MK) and another NGO [Redacted]. In addition, an
unspecified member of the Al Rajhi family is charged with overseeing financial support to the Afghan Mujahideen
along with the IIRO Director in Kabul, [Redacted]. ARBIC apparently has been a conduit for funding the
Mujahaddin since the early 1990s.”).
10
   CIA-SUB 0003.
11
   CIA-SUB 0003.

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 Case 1:03-md-01570-GBD-SN                 Document 10594-38             Filed 12/09/24        Page 9 of 55

                            SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


held accounts at the Al-Rajhi Banking and Investment Company.”12 Usama Bin Laden himself had at least
4 accounts at the institution, as well as at least 7 9/11 hijackers--Abdelaziz al-Omari, Ahmed al-Ghamdi,
Saleh al-Ghamdi, Majed Moqed, Saeed al-Ghamdi, Wael al-Shehri, and Hani Hanjour.13 A 2002 CIA
document obtained by Plaintiff’s counsel noted that ”Al-Rajhi Bank has been a conduit for funds for Islamic
extremists and for the 11 September hijackers.”14

         Among the contemporary Saudi clerics who have most aggressively promoted violent jihad, one
name stands out in particular – Sulayman bin Nasir bin Abdullah al-Alwaan (a.k.a. “Abu Abdullah”).
Banking records produced by ARB indicate that al-Alwaan opened six accounts at an Al-Rajhi Bank branch
in Buraydah, Saudi Arabia in the fall of 2000 -- three accounts on September 12, 2000 and another three
accounts on October 9, 2000—which were subsequently investigated by the Saudi Arabian Monetary
Authority (“SAMA”) following the September 11 attacks.15 According to the 9/11 Commission report, al-
Alwaan's mosque located in Saudi’s Qassim Province was “known among more moderate clerics as a
‘terrorist factory’”--and that al-Alwaan himself had served as teacher and mentor to 9/11 suicide hijacker
Abdelaziz al-Omari.16 In addition to having ”a role in recruiting one or more of the muscle hijackers”, al-
Alwaan was also reputed to be the ”spiritual advisor” of Abu Zubaydah, a senior Palestinian jihadi
organizer who was once in charge of the Khalden training camp in Afghanistan.17

       Among the topics addressed by Sulayman al-Alwaan in his writings was the “permissibility of
martyrdom operations.” According to al-Alwaan:

        “[I]t is obligatory from among all the people of ability to fight them and spill their blood
        and make ongoing Jihād against them until the full liberation of Palestine and all the
        countries of the Muslims. And it is not allowed in the Sharī’ah to surrender any of the
        lands of the Muslims to the Jews or to make peace with them because they are a people
        of deception and deceit and of breaking of treaties. And I see that in this time, in which
        the Muslims are unable to (fully) fight the Jews and destroy them and expel them from
        the Holy Land, that the best treatment and the greatest medicine that we apply to the
        brothers of the monkeys and the pigs (i.e. the Jews) is that we perform the suicide
        operations and put forward our souls as a ransom for motivation of Īmān and for
        praiseworthy goals from planting the fear in the hearts those who disbelieve and inflicting
        harm upon their bodies and losses in their wealth.”18

        In the wake of the September 11, 2001 terrorist attacks on the United States, al-Alwaan left no
ambiguity as to how he viewed Al-Qaida and the Taliban. In a sermon to his followers, he appealed, “The
banners of jihad in Afghanistan, Palestine, Philippines, Chechnya and other places have risen... anyone
ready for Jihad? Any call to fight the infidels? One of the biggest disappointments is to see the Muslims


12
   CIA 809.
13
   CIA 149-150. See also: CIA 809, CIA-SUB 0003, ARB 1-15, ARB 811-814, ARB 815-835, ARB 836-840, ARB 850-857,
ARB 960-973.
14
   CIA 149-150.
15
   ARB 39724-39727.
16
   9/11 report. Page 233.
17
   9/11 report. Page 521.
18
   https://ia601603.us.archive.org/15/items/PermissabilityOfMartyrdomOperations/Martyrdom_Operations.pdf.

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Case 1:03-md-01570-GBD-SN                  Document 10594-38              Filed 12/09/24        Page 10 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


fighting the Russians and the Americans and you are not taking part or giving money although you can
fight and you are needed."19 According to al-Alwaan in a 2002 speech:

        “The countries of infidelity, America and its allies have conspired to fight Islam and
        Muslims, kill their leaders, spread corruption among them and impose embargo on some
        of their countries. The American president, Bush, has said in a press conference that this
        is a crusade. This crusader coalition calls for a major confrontation, huge efforts and a
        general mobilization. No one is excused from standing up to it. Everyone should do what
        he can and according to his ability. Someone would fight where he is needed, another
        will do it with his money or his words... O Allah, destroy the forces that the Jewish
        Usurping and the Christian aggressors have in the sky. Destroy the forces that they have
        on the ground, and sink the forces that they have in the sea.”20

          Elsewhere, al-Alwaan called on his supporters to “make ready against them with all you can of
power, including steeds of war (tanks, planes, missiles, artillery, etc.) to threaten the enemy of Allah and
your enemy.”21 In 2003, al-Alwaan spoke at the Al-Rajhi Mosque and condemned the United States and
its allies, calling them “invaders and crusaders.”22 In April 2004, following a series of Al-Qaida terrorist
attacks in the Kingdom, Saudi authorities arrested and imprisoned al-Alwaan. He was later handed a 15
year prison sentence for working with Al-Qaida members, sanctioning suicide attacks, and collecting
financial aid on behalf of Al-Qaida.23

         Other individuals located in the United States that had suspicious contact with the 9/11 hijackers
in the months leading up to the attacks were also in contact with the Al-Rajhi family charity. According to
FBI documents, Saudi national Omar al-Bayoumi provided “substantial assistance” to hijackers Nawaf al-
Hazmi and Khalid al-Mihdar during their time living undercover in San Diego, California.24 Telephone
records received from AT&T appear to show multiple phone calls in January 2001 from Omar al-Bayoumi's
office at a Kurdish mosque in San Diego to two officials from the Suleiman Abdul Aziz Al Rajhi Charitable
Foundation in Saudi Arabia, Abdulrahman al-Rajhi and Abdullah al-Misfer.25 Additionally, records from Al-
Rajhi Bank show at least three transfers in July and August of 2001 from Al-Rajhi Bank accounts held by
Sheikh Mohamed Abdel Aziz al-Habib to al-Bayoumi‘s Bank of America account in California.26

         Omar al-Bayoumi was not the only Saudi national with ties to the Saudi government who had
significant contacts to 9/11 hijackers Nawaf al-Hazmi and Khalid al-Mihdar when the two men were in
southern California.

19
   https://int.nyt.com/data/int-shared/nytdocs/docs/233/233.pdf.
20
   https://int.nyt.com/data/int-shared/nytdocs/docs/233/233.pdf.
21
   https://archive.org/details/VerilyTheVictoryOfAllahIsNear.pdf.
22
   https://www.latimes.com/archives/la-xpm-2003-apr-05-war-saudi5-story.html.
23
   https://www.arabnews.com/news/48426.1
24
   2012 FBI Summary Report. Pages 3-4.
25
   AT&T telephone records identify two calls from Bayoumi’s office telephone at the Kurdish Mosque in San Diego,
CA on January 20, 2001 to Saudi Arabia at 3:33am and 3:35am (PST). The first call is to 96614920033, an office
number associated with Abdulrahman al Rajhi. NL 18775. The second call is to 96655487313 (for over 12 minutes),
a mobile phone associated with Abdullah al Misfer. Id. Al Rajhi and Misfer share the same office number (4915122)
and fax number (4910242). Id.
26
   ARB 39930, 39331, 39329. See also: ARB 13754-13755.

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                                                              FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38              Filed 12/09/24         Page 11 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS



                                        While supporters of al-Thumairy have defended him as a quiet
and peaceful man, various FBI sources reported that al-Thumairy was actually a “hard core extremist” and
that his sermons had “a militant, anti-West tone to them. Al-Thumairy is also reported to be anti-United
States and Israel.”28 A human source informed the FBI that “Althumairy knew who ‘the guys’ were and
was sympathetic to Al-Qaeda's cause.”29 An FBI analysis of this evidence related that “Los Angeles is of
the strong opinion that Fahad Al-Thumairy may have known about the hijackers while in the United States
and may have assisted them.”30


               n the first half of 1999, Sulaiman al-Rajhi sent a total of more than 110,000 riyals to al-
Thumairy’s supervisor in the United States, Khalid al-Suwailem, the head of the Saudi embassy’s Dawah
Office (affiliated with the Saudi Ministry of Islamic Affairs).33 This was evidently among a variety of other
payments received by al-Suwailem from Sulaiman al-Rajhi and Al-Rajhi Bank.34

        Saleh al Hussayen, who served as a member of Al-Rajhi Bank’s Sharia Board from 1988 to 1999,35
and further served as an officer of Sulaiman al-Rajhi’s SAAR Foundation, Inc. in the United States,36 was in
the United States in the weeks prior to the 9/11 attacks to meet with representatives from the Muslim
World League, World Assembly of Muslim Youth, and the Islamic Association of North America (“IANA”).37
On the night of September 10, 2001, Hussayen stayed at the Marriott Residence Inn in Virginia, the same
hotel where 9/11 hijackers Hazmi, Mihdhar, and Hani Hanjour were staying before they woke up on the
morning of September 11 and hijacked American Airlines Flight 77.38




28
   EO14040-003457.
29
   EO14040-003613.
30
   EO14040-003459 – EO14040-003460.
31
   EO14040 2797-2815 at 2802 (“Al-Thumairy, like Al-Bayoumi, was a possible Saudi Arabian intelligence asset.”);
EO14040 3465-3472 at 3469 (“Al-Thumairy was part of the Al-Qaida linked extremist Suroori network in Saudi
Arabia.”).


             NL 18775.
33
   NL 15044, 15045. See also NL 15572 (transfer to “The Propagation Office in America (Khalid Ibrahim Swelim);”
NL 10468 (payment of $25,000.00 to the “Royal Embassy of Saudi Arabia IFTA #5”).
34
   NL 10485 ($5,000.00 check, dated July 7, 1999, payable to “Khaled Bin Ibrahim A-Swailem,” from Abdul
Rahman Al Rajhi”); KSA 1685 ($726.67 check, dated December 11, 1998, payable to “Khaled I. Al-Sowailem”); KSA
1687 ($398.14 check, dated December 14, 1998, payable to “Khaled I. Al-Sowailem”).
35
   Deposition of Abdullah al-Rajhi, Transcript at pp. 268-271.
36
   SAAR Foundation, Inc. Annual Reports (1991-1994). See also IIRO 315040 (Hussayen was a member of an IIRO
delegation to Tanzania in 1995 with another officer of the SAAR Foundation, Inc. (Dr. Ahmad Totonji) and three
officers of the Sulaiman Abdel Aziz Al-Rajhi Charitable Foundation (Abdul Rahman al-Rajhi, Saleh al Habdan, and
Abdullah al Misfer).
37
   Susan Schmidt, Spreading Saudi Fundamentalism in the U.S., Washington Post (October 2, 2003).
38
   David Rennie, Hijackers in Same Hotel as Saudi Minister, The Telegraph (October 2, 2003).


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                                                               FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38               Filed 12/09/24         Page 12 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS




        Al-Rajhi Bank has likewise provided critical financial services to numerous Islamic charitable
organizations engaged in money laundering and supporting jihadi causes, including terrorist fundraising.
Sulaiman Abdel Aziz Al-Rajhi also helped to personally sponsor and finance several Islamic charities in
northern Virginia near Washington D.C. that were raided by U.S. counterterrorism investigators in March
2002.41

         The Al-Haramain Charitable Foundation was a Saudi non-profit evangelical charity that engages
in relief works around the world. It had more than 40 international branches working in over fifty
countries, and in 1999 spent more than $61 million on various projects worldwide.42 Al-Haramain also
maintained a presence and local offices in the continental United States; primarily, in the states of
Missouri and Oregon.

        There are a variety of connections linking Al-Haramain with the Al-Rajhi family and Al-Rajhi Bank.
A member of the Al-Rajhi clan, Shaykh Abdussalam Al-Rajhi, sits on the administrative board of Al-
Haramain43; moreover, discovery in this case has revealed that Al-Rajhi Bank maintained 95 bank accounts
for Al Haramain in the 1998-2002 timeframe, through which it was moving massive amounts of money --
2,146,119,285.78 riyals in total deposits, and 2,035,094,758.98 riyals in total withdrawals. 44 The Al-
Haramain website listed 13 individual accounts at the Al-Rajhi Bank Olaya Branch in Riyadh, including
those for “general” use, “Asian Committee”, “Single Body [Project in Indonesia]”, “Africa Committee”,
“Europe Committee”, “Dawah and Sponsorships Committee”, “Zakaat Committee”, “Continuous Charity”,
“Masjids Committee”, “Seasonal Projects Committee”, “Profitable Business”, “Internet Committee”, and
for the “Tawheed Endowment.”45 According to an Arabic-language section of Al-Haramain website, the
“Asia Committee” was specifically in charge of the charity’s controversial operations in “Palestine and
Chechnya.”46 A pamphlet for Al-Haramain's “Kosovo Relief Fund” seeking contributions instructed donors
in “the Middle East and all other countries” to “make your donations to” the Al-Haramain account at
“AlRajhi Banking & Investment Corporation” in Riyadh.47 Among those who held accounts at Al-Rajhi Bank
included the director, deputy director, and executive director of Al-Haramain's Jeddah office, as well as
the organization’s Taif branch office director.48




41
   Simpson, Glenn R. “To an al Qaeda Front.” The Wall Street Journal. September 20, 2002.
42
   “Saudi Arabia’s top Islamic charity denies any of its assets frozen.” Agence France Presse. March 13, 2002
43
   http://www.alharamain.org/alharamain/eng/inner.asp?order=1&num=1.
44
   Exhibit 31 (ARB 31), September 27, 2023 Deposition of Abdullah bin Sulaiman al-Rajhi, Plaintiffs’ Summary
Spreadsheet of Al Haramain Islamic Foundation Accounts at Al Rajhi Bank. See also: See also Transcript at p. 80,
Deposition of 30(b)(6) Al-Rajhi Bank Designee James Galloway (May 11, 2023). See also:
http://kosova.hypermart.net/harameen.html. See also:
http://www.alharamain.org/english/charity/accounts/accounts.htm.
45
   https://alharamain.org/english/charity/accounts/accounts.htm.
46
   https://www.alharamain.org/arb/index2.asp&order=7&num=475. February 2003.
47
   http://web.archive.org/web/20020802212108/http://kosova.hypermart.net/harameen.html.
48
   ARB 38878, 38885, 38978, 38979, 38994, 38995, 38996, 39001, 39007.

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                                                                FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38               Filed 12/09/24         Page 13 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


         Discovery in the litigation has produced accounts statements and other materials for the Sulaiman
Abdel Aziz Al-Rajhi Charitable Foundation’s account at ARB, which identify at least twenty-five payments
to Al-Haramain, and one payment to Aqil al Aqil,49 the former head of Al-Haramain and an E.O. 13224
Specially Designated Global Terrorist (“SDGT”).50 The check payments to Al-Haramain and Aqil were
signed by Sheikh Sulaiman Abdel Aziz al-Rajhi.51 Additional payments from Sulaiman al-Rajhi and his
Foundation to Al-Haramain and Al-Haramain’s overseas office in Indonesia52 are identified on a list of
Sulaiman al-Rajhi and the Foundation’s 1999 contributions.53 The Foundation account records also
identify seven check payments from Sulaiman al-Rajhi to Abdullah al Misfer, again signed by Sulaiman al-
Rajhi himself.54 Misfer served as an official of the Foundation, while also holding the position of Director
of Al-Haramain’s Palestine Division.55

        Since the mid-1990s, Al-Haramain has come under official investigation by a variety of
international governments and law enforcement agencies. In January 1995, the Committee for the
Defense of Legitimate Rights (CDLR), a Saudi dissident group aligned with Usama Bin Laden, reported that
Saudi authorities were scrutinizing the activities of Al-Haramain.56 When Italian counterterrorism police
raided a suspected Al-Gama`at Al-Islamiyya terrorist guesthouse and headquarters in Milan in 1995, they
discovered a confidential letter sent to wanted Egyptian terrorist Shaykh Anwar Shaaban from Albania
detailing efforts to distribute Al-Gama`at’s official magazine, Al-Murabitoun, amongst the personnel
working at the Al-Haramain charitable organization in the Balkans.57

        Even the Bosnian Muslim Army’s own military intelligence service began issuing warnings about
the local charitable activities of the Al-Haramain Foundation. In May 1995, the service sent a lengthy
analytical report to senior Bosnian Army commanders regarding the foreign mujahideen, warning about
the “so-called humanitarians, that are in charge of propaganda of the ideas, that these persons are


49
   NL 10245 (Sulaiman al-Rajhi check to Aqil al Aqil for 187,500 riyals and suggesting that Al Haramain “open an
office in the Republic of Macedonia.”).
50
   ARB 38079-38107, ARB 39948-39959, ARB 39960, ARB 39961, ARB 42179-42180, ARB 42181-42182, ARB 42183-
42184; see also U.S. Department of the Treasury’s June 2, 2004 designation of Aqeel Abdulaziz al Aqil (stating that
numerous Al Haramain field offices and representatives operating throughout Africa, Asia, Europe, and North
America under Aqil’s leadership were providing material and financial support to the al Qaeda network).
51
   NL 10086, 10088, 10094, 10245. In March 2003, even after several of the Al Haramain branches had been
designated by the U.S. government and United Nations, Sulaiman al Rajhi defended his donations to Al Haramain.
See CIA-SUB 0001-0006 at 005 (“[Redacted] March 2003, Sulayman al-Rajhi defended his donations to the al-
Haramain Islamic Foundation, which has come under scrutiny for its support to extremists.”).
52
   Al Haramain’s office in Indonesia was specifically designated by the U.S. government on January 22, 2004.
According to the U.S. Treasury press release, the Indonesia office “provided financial support to al-Qaida
operatives in Indonesia and to Jemaah Islamiiyah (JI)” and “was one of the primary sources of funding for al-Qaida
activities in the region.”
53
   NL 15578, 15043-15046 at 15045 (64,998 riyal contribution by telex, dated July 31, 1999, to “Al Haramain
Foundation, Indonesia”); NL 15046 (600,000 riyal contribution to “Al Haramain Foundation”).
54
   NL 10327, 10348, 10349, 10350, 10145, 10423, 10194.
55
   NL 9623, 9625; Al Jazirah, The Al-Haramain Islamic Foundation Launches a Donation Campaign for the
Palestinians, April 8, 2002.; Al Minbar, Achievements of the Al-Haramain Islamic Foundation in Palestine.
56
   The Committee for the Defense of Legitimate Rights (CDLR). “Your Right to Know.” CDLR Monitor. No. 30;
January 13, 1995.
57
   DIGOS (Italy) Anti-Terrorism Report. “Searches at the Islamic Cultural Center, Viale Jenner 50, Milano,
6/26/1995.” Dated September 15, 1997.

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                                                                FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                    Document 10594-38               Filed 12/09/24          Page 14 of 55

                               SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


approaching with, with mainly religious teaching – called ‘DAWA’ (spreading of the religion in the manner
of ‘vehabijski mesheb’)… They mainly act through the work of humanitarian organizations ‘Islamic Balkan’s
Center’, ‘Organization for the Regeneration of Islamic Thought, Kuwait’ and ‘Al-Haramain.’”58 A separate
analytical chart issued by the Bosnian-Muslim military intelligence service in November 1995 depicting
the hierarchy of the Mujahideen Brigade identified “H.O. ‘AL HARAMAIN’” as one of the chief “Foreign
Donors to ‘El Mudzahidin.’”59

        In 1996, a report from the Central Intelligence Agency (CIA) on the activities of Islamic charities in
the Balkans noted, “Al-Haramayn helps fund and support the mujahedin battalion in Zenica… The Zagreb
office has been raided often by Croatian security for smuggling activities.”60

         On March 11, 2002, the U.S. Treasury moved to freeze the assets of the Al-Haramain branch in
Bosnia-Herzegovina, charging that it was providing financing to foreign terrorist organizations.
Investigators indicated that Al-Haramain’s Bosnia office had been linked to the terrorist group Al-Gama`at
Al-Islamiyya, and that Saudi citizen Wael Jalaidan (a close friend and aide of Usama Bin Laden) was
authorized to withdraw money from its local bank account.61 Jalaidan himself notably held accounts at
Al-Rajhi Bank.62

        Al Haramain was officially banned in Kenya shortly after the devastating U.S. Embassy bombings
in August 1998 because the charity was believed to have had a role in the attack.63 At the time, John
Etemesi, chairman of the Kenyan Non-Governmental Coordinating Board, explained that Al-Haramain
“had been found to be working against the interests of Kenyans in terms of security… Our investigations
reveal that the operations of these organizations are inconsistent with the reasons for which they were
registered.”64 Wadih El-Hage, Usama Bin Laden’s personal secretary, was a principal convicted conspirator
in the 1998 embassy bombings. El-Hage’s book of business cards exhibited at the federal trials in New
York contains a card for “Mansour A. Al-Kadi” as the “Deputy General Director and Head of Africa-
Committee of Al Haramain Islamic Foundation.”65 “Mansuor [sic] Al-Kadi” is also listed as the Vice


58
   “Review of the Information on Activities of the Persons from Afro-Asian Countries Directly Before the War and
During the War in the Territory of BIH Republic.” Report written by the BIH Administration of the Military Security
Service– Department for Analytical and Informative Affairs.” Sarajevo; May 6, 1995.
59
   “Foreign Donors to ‘El Mudzahidin” (“Donatori Jedinice ‘El Mudzahidin’”). “Shema Hijerarhijskih Odnosa OpO
‘Vazal.’” Memorandum issued by the Army of the Republic of Bosnia-Herzegovina (ARBiH) Military Security Service.
November 28, 1995.
60
   January 1996 CIA Report on “International Islamic NGOs” and links to terrorism. Page 1. See also: Affidavit by
Senior Special Agent David Kane (Bureau of Immigration and Customs Enforcement, Department of Homeland
Security). United States of America v. Soliman S. Biheiri. United States District Court for the Eastern District of
Virginia, Alexandria Division. Case #: 03-365-A. August 14, 2003. Page 5.
61
   Hecimovic, Esad. “Blockading Young Muslims’ Way—Misuse of Humanitarian Funds To Support Terrorism.” Dani
(Sarajevo). November 22, 2002. Pages 36-39.
62
   ARB 974-1019, 1183-1216.
63
   Jeannine Aversa. “U.S. blocks assets of Islamic charity’s operations in Bosnia and Somalia.” Associated Press.
March 11, 2002.
64
   “Kenya bans six Islamic aid agencies after U.S. Embassy bombing.” Associated Press. September 9, 1998.
65
   U.S. v. Usama bin Laden, et al. United States District Court for the Southern District of New York. 116 F. Supp. 2d
489; 2000 U.S. Dist. LEXIS 14507. October 5, 2000, Decided. October 5, 2000, Filed. Government exhibits GX-207 to
GX-364.

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                                                                 FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                    Document 10594-38              Filed 12/09/24         Page 15 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


President of Al-Haramain’s Ashland, Oregon office on IRS 990 Forms from fiscal year 2000.66 Al-Haramain’s
English-language website further identifies Al-Kadi as a member of its global Board of Trustees.67 Al-Kadi
himself held accounts at Al-Rajhi Bank.68

      Regarding the U.S. presence in the Muslim world, two months after the 1998 East Africa Embassy
bombings, the Al-Haramain English-language newsletter read:

         “The war of the Christian Crusaders is today at its most intense… The Muslim whose mind
        has not been corrupted cannot bear to see the unbelievers wielding authority, and
        ordering and prohibiting in his own country. Therefore such a Muslim strives his utmost
        to expel and distance them - even if he has to sacrifice his own life, or his most cherished
        possession, for this cause.”69

         Likewise, in May 1999, the Al-Haramain English newsletter carried an article endorsing the
position of noted Muslim lecturer Jamal al-Din Zarabozo: “What we need are Muslims who are totally
committed to Islam… People who are willing to sacrifice for Allah’s sake and not fear the harm of anyone.
This is what we need. We need a real commitment to Islam. We must strive to support the Muslims and
jihads throughout the world with our lives and our wealth.”70 The official Al-Haramain website carried
regularly updated reports on the “The Jihaad In Chechnya” in the form of copies of communiqués issued
to “the President of the Asian committee” of Al-Haramain from its representative in Chechnya, Abdul-
Lateef Ad-Diraan.71

        In March 2003, German authorities detained and interrogated six suspected Muslim militants tied
to the Al-Nur mosque in Berlin. One of these men, Tunisian-born Ihsan Garnoaui, was arrested after a
search of his belongings uncovered a poison handbook, bomb-making ingredients, a loaded handgun, and
a stolen passport. Masjid Al-Nur had already come under scrutiny for its links to Mohammad J. Fakihi,
director of the Islamic Affairs Department at the Saudi Embassy in Berlin, who has been tied to Al-Qaida
and alleged September 11 conspirators active in Germany. Reportedly, German investigators were also
examining the role of the Al-Haramain Foundation in funding and sponsorship of the Al-Nur mosque.
Shaykh ‘Aqeel Ibn ‘Abdul-‘Aziz Al-‘Aqeel, the “general director” of Al-Haramain is listed as a co-owner of
the land the mosque sits on, which was purchased only months after the arrival of Fakihi at the Saudi
Embassy in Berlin.72. Documents produced in discovery in the litigation identify a bank wire of 50000 Saudi




66
   IRS 990 Form fiscal year 2000 for the “Al-Haramain Foundation.”
67
   http://www.alharamain.org/alharamain/eng/inner.asp?order=1&num=1.
68
   Mansour al Kadi held 5 accounts at ARB with significant monies moving in and out of the accounts –
48,188,573.59 riyals in total deposits, and 46,462,688.08 riyals in total withdrawals during the 1998-2002 time
period. ARB 41508-41510, ARB 41511-41561, ARB 41562-41610, ARB 41611-41619, ARB 41622-41667.
69
   Shaykh Abdul-Aziz Ibn Baz. “The Ideological Attack.” Al-Haramain Newsletter. Vol. 2; No. 10. October 1998.
70
   http://www.alharamain.org/english/newsletter/issue23/feature23.htm. May 1999.
71
   http://www.alharamain.org/alharamain/chechniya/chech_eng01.html. October 2000. See also:
http://www.alharamain.org/alharamain/chechniya/chech_eng04.html. October 2000.
72
   Crawford, David. “Germans Investigate Saudi Official.” The Wall Street Journal. April 22, 2003.

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                                                                FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                    Document 10594-38               Filed 12/09/24          Page 16 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


riyals dated February 15, 1999 from Sulaiman bin Abdelaziz al-Rajhi to the Al-Nur mosque in Berlin.73
Notably, Aqeel al-Aqeel himself held accounts at Al-Rajhi Bank as well.74

         As of March 2006, the U.S. government has named Al-Haramain Foundation affiliate offices in at
least thirteen different countries as Specially Designated Foreign Terrorist (SDGT) entities—including,
Bosnia-Herzegovina, Somalia, Ethiopia, Albania, Bangladesh, Kenya, Tanzania, Indonesia, the Comoros
Islands, the Netherlands, Pakistan, Afghanistan, and even inside the U.S.75 CIA documents indicate that
Al-Haramain employee accounts in Albania specifically received money from Al-Haramain‘s official
account at al-Rajhi Bank.76

         A subsequent federal law enforcement investigation of Al-Haramain's operations in the United
States revealed further details on the relationship between Al-Haramain and Al-Rajhi Bank. According to
an affidavit from an IRS Criminal Investigations agent, a Saudi organizer for Al-Haramain arrived in the U.S.
in May of 2000 carrying $275,000 “consis[ting] of American Express Traveler’s checks issued by Al-Rajhi
Bank in Riyadh Saudi Arabia. Bank records show these funds were deposited into a Bank of America
account in Ashland, Oregon, in the name of AHIF, Inc [Al-Haramain].”77 The same Saudi organizer, Soliman
Albuthe, allegedly later withdrew $151,000 in traveler’s and cashier’s checks from Al-Haramain Funds in
the United States: ”ALBUTHE cashed the traveler’s checks on approximately March 25, 2000 at Al-Rajhi
Banking and Investment in the Kingdom of Saudi Arabia. An analysis of the $21,000 cashier’s check
ALBUTHE received... shows the check was deposited into an Al-Rajhi Banking and Investment account in
the Kingdom of Saudi Arabia.”78 According to an official statement from the FBI, the traveler’s checks
”cashed in for Saudi riyals at the Al Rahji Bank [then] disappeared, presumably to be smuggled into
Chechnya.”79 Albuthe personally held accounts at Al-Rajhi Bank.80 In 2007, Soliman Albuthe was
blacklisted by the U.S. Treasury department as a Specially Designated Global Terrorist (SDGT).81

       According to the U.S. Justice Department, senior Al-Haramain administrator Soliman Albuthe also
paid money to a Saudi Arabian grad student “to work on the website... www.islamtoday.net.”82 The
founder and “general supervisor“ behind islamtoday.net was Shaykh Salman al-Awdah, whose biography
was published on the website and who used it to publish his own fatwahs (religious edicts).83 Al-Rajhi


73
   NL, 15578, 15043-15046 at 15044.
74
   Aqil al Aqil held 5 accounts at ARB which saw massive amounts of money moving through the accounts –
41,488,841.68 riyals in deposits, and 41,599,552.07 riyals in withdrawals during the 1998-2002 time period. ARB
41454-41463, ARB 41464-41501, ARB 41502-41503, ARB 41504-41505, ARB 41506-41507, ARB42129-42138.
75
   http://www.ustreas.gov/offices/enforcement/ofac/sdn/sdnlist.txt. March 2006.
76
   CIA-SUB_0013.
77
   United States District Court, District of Oregon. Affidavit in support of Search Warrant for 3800 S. Highway 99,
Ashland, OR 97520. Colleen Anderson, Special Agent, IRS-CI. February 13, 2004.
78
   United States District Court, District of Oregon. Affidavit in support of Search Warrant for 3800 S. Highway 99,
Ashland, OR 97520. Colleen Anderson, Special Agent, IRS-CI. February 13, 2004.
79
   https://archives.fbi.gov/archives/portland/press-releases/2010/pd091010.htm
80
   ARB 858-959.
81
   https://ofac.treasury.gov/recent-actions/20070601a. https://home.treasury.gov/news/press-releases/js1895
82
   Al Haramain Islamic Foundation, Inc. v. United States Department of the Treasury. Opinion. United States
District Court, District of Oregon. Civil No. 07-1155-KI. 585 F. Supp. 2d 1233 (D. Or. 2008). November 6, 2008.
83
   http://islamtoday.net/salman/aboutus.htm. December 2008. See also:
https://www.arabnews.com/node/315041.

                                                         15

                                                                 FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38              Filed 12/09/24         Page 17 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


Bank records likewise appear to show large transfers of money from the account of Khaled Abdullah al
Qafari (Salman al-Awdah's personal secretary) into Albuthe’s ARB account.84

         During the mid-1990s, al-Awdah ran afoul of Saudi authorities and was formally detained for five
years stemming from his extremist rhetoric and calls for military confrontation with the West—only to be
inexplicably released from custody by the Saudis in 1999. The mujahideen recruitment video “Martyrs of
Bosnia” includes audio recordings of al-Awdah discussing the conflict in the Balkans and portraying it as
part of a larger physical battle with the Western world: “The scholars of history have said, ‘the most
distinguished of wars throughout history are those based on belief, because a man who fights for his
creed, believes that when he dies, he dies as a martyr…. What occurred in Bosnia Herzegovina was not
merely a war between the Muslims and the Serbs, but it was a war between Islam and Christianity. And
this is how we must understand it. It was a war carried out by the entire West against the Islamic world.”85
According to mujahideen spokesmen quoted in the video, Salman al-Awdah was among the “most
important” Islamic clerics around the world to “spread the news of jihad” in Bosnia.86

            Al-Awdah's imprisonment by the Saudi government caused great consternation and anger
among a variety of jihadi circles. In December 1994, a group of militants loyal to the Algerian Armed
Islamic Group (GIA) seized control of an Air France jetliner in Algiers in an unsuccessful bid to suicide-crash
it into the Eiffel Tower on Christmas Day. After securing the plane, the GIA hijackers demanded (in
exchange for passengers held hostage), “the release of Dr. Omar Abdel Rahman and [Shaykh] Salman al-
Awdah.”87 Prior to 9/11, Usama Bin Laden himself referred to al-Awdah as a personal hero, and in an
interview with journalist Peter Arnett, cited him as a direct inspiration for taking up “my duty of enjoining
what is right and forbidding what is wrong.”88 Likewise, according to at least one Al-Qaida online magazine
published in Saudi Arabia, al-Awdah once told other terrorist leaders based in Saudi Arabia that he was
“proud to be one of the soldiers of Abu Abdallah [Bin Laden].”89

        Before his initial arrest in Saudi Arabia in 1994, al-Awdah allegedly told his followers that Al-Rajhi
Bank was “the only financial institution in Saudi Arabia that followed Islamic guidelines and, therefore,
the only bank worthy of Muslim deposits.” According to an undated CIA report, "the Al Rajhi family
subsequently became a major financial supporter of al-Awdah.”90


84
   ARB 935 (February 2, 2002 transfer of 100,000.00 riyals into Buthe’s account (“Transfer to you from Khaled
Abdullah Al Qafari”); ARB 937 – March 12, 2002 transfer of 50,000.00 riyals into Buthe’s account (“Transfer from
the account of Khaled Al Abdullah Al Qafari”); ARB 941 – March 1, 2002 transfer of 150,000.00 riyals into Buthe’s
account (“Khaled Al Qafari transfer”); ARB 943 – May 22, 2002 transfer of 50,000.00 riyals into Buthe’s account
(“Transfer – Khaled Abdullah Al Qafari”); ARB 954 – October 29, 2002 transfer of 50,000.00 riyals into Buthe’s
account (“Transfer, Khaled Abdullah Al Qafari”); ARB 955 – November 16, 2002 transfer of 50,000.00 riyals into
Buthe’s account (“Transfer – Khaled Abdullah Al Qafari”).
85
   Azzam Publications. “Martyrs of Bosnia.”
86
   Azzam Publications. “Martyrs of Bosnia.”
87
   “Malhamat al-Shahadah: A political analysis of the goal of the Martyrdom Operation.” Islam Report. American
Islamic Group (AIG). December 31, 1994.
88
   Transcript of Usama Bin Laden interview with Peter Arnett. As released for “CNN/Time Impact: Holy Terror?”
CNN. March 1997.
89
   Al-Qaida in Saudi Arabia. Sawt al-Jihad Magazine. Issue #1. October 2003.
90
   CIA 748. See also E014040 637-642 at 640 (“As late as May 2009, Sheikh Salman Odeh (a.k.a. Sheikh Salman bin
Fand Al-Awda) was the shaykh of Saudi-based Salafi extremists Mohammed Al-Muhanna and Fahd Al-Thumary.”).

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                                                               FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38              Filed 12/09/24        Page 18 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


         The Jeddah-based charity International Islamic Relief Organization (IIRO) (Hay’at al-Ighatha al-
Islamiyya al-Alamiyya), known locally as “Ighatha,” “IGASA,” or “IGASE,” was founded in 1978 as a branch
of the Muslim World League (MWL). Discovery in this case indicates that IIRO held as many as 308
separate bank accounts at Al-Rajhi Bank during the 1998 through 2002 period.91 An analysis of IIRO
fundraising appeals starting from the mid-1990s indicates that the Saudi charity relied heavily on accounts
held at Al-Rajhi Bank to solicit financial donations. Printed English-language pamphlets issued in the name
of IIRO’s “Secretray[sic]-General” called upon supporters to subscribe and provide a “regular donation of
Zakath” – offering a “bank address: Al-Rajhi Banking & Investment Corporation” in Jeddah, Saudi Arabia.92
In April 1999, IIRO Secretary General Dr. Adnan Khalil Basha broadcast appeals in Saudi media seeking
“philanthropists to donate generously“ to the group‘s zakat and relief funds, advertising multiple accounts
at ”Al-Rajhi Banking & Investment Corporation.”93 In April 2003, IIRO’s parent organization, the Muslim
World League (MWL), posted fundraising appeals in its Arabic-language online newsletter on behalf of
“the International Islamic Relief Organization in the Kingdom of Saudi Arabia, affiliated with the Muslim
World League” – and requesting that funds be sent to an account at Al-Rajhi Banking & Investment
Corporation.94 One of IIRO’s charity accounts at Al-Rajhi Bank was held in the name of ”Al Aqsa Martyrs
& Orphans”95 – and IIRO account statements also identify numerous payments to the Al Quds Intifada
between 2000-2002.96 An undated CIA report noted that “an unspecified member of the Al Rajhi family
is charged with overseeing financial support to the Afghan Mujahideen along with the IIRO Director in
Kabul.”97

         Over the last thirty years, IIRO has become quite infamous for its often direct links to violent
jihadists, including Al-Qaida and Usama Bin Laden. Even Mohammed al-Zawahiri, leader of the Egyptian
Islamic Jihad’s military wing and the brother of Dr. Ayman al-Zawahiri (Bin Laden’s personal physician and
top advisor), worked and traveled around the world on behalf of IIRO.98 U.S. government diplomatic
cables have stated that “Usama bin Ladin used the entire IIRO network for his terrorist activities.”99
According to U.S. Department of Defense documents, the U.S. government has privately designated IIRO
as a “National Intelligence Priority Framework (NIPF) Counter-Terrorism (CT) Priority 2 Terrorist Support
Entity (TSE).”100 According to these documents, “Priority 2 TSEs have demonstrated sustained and active
financial support for terrorist organizations willing to attack U.S. persons or interests, or provide witting




91
   See also Transcript at p. 88, Deposition of 30(b)(6) Al-Rajhi Bank Designee James Galloway (May 11, 2023). ARB
produced account statements for 287 IIRO accounts at ARB, showing 2,974,279,291.71 riyals in total
deposits and 2,914,284,820.75 riyals in total withdrawals.
92
   IIRO fundraising pamphlet “My Regular Donation of Zakath (Alms).”
93
   ”ALJ group donates SR8m to aid Kosovar Muslims.” Arab News. April 17, 1999.
94
   www.muslimworldleague.org/paper/1788/articles/page1.htm,
www.muslimworldleague.org/paper/1776/articles/page10.htm, April 14, 2003.
95
   ARB 39615, 39616, 39614, 10369, 14237, 14250, 14251, 13902, 14289, 39623, 39608, and 10126
96
   ARB 2700, 2701, 5085, 5087, 5105, 10061, 10064, 10068, 10071, 10074, 10079, 10101, 10105, 10109, 10113,
10116.
97
   CIA 743.
98
   “Official sources deny reports on UAE’s extradition of Islamist.” Al-Hayat. June 7, 2000.
99
   FED-PEC 220501-220502.
100
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Samir N. Al Hasan (ISN No. 043) (March
4, 2008).

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                                                               FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38              Filed 12/09/24        Page 19 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


operational support to Priority 2 terrorist groups.”101 Separately, IIRO is also reportedly an “NGO Tier 1
counterterrorism target defined as having demonstrative sustained and active support for terrorist
organizations willing to attack US persons or interests.”102 Other DOD documents have classified IIRO as
among the “Associated forces” of Al-Qaida, “with which al-Qaida, the al-Qaida network, or the Taliban
had or has an established working, supportive, or beneficiary relationship for the achievement of common
goals… Through associations with these groups and organizations a detainee may have provided support
to al-Qaida or the Taliban, or engaged in hostilities against U.S. or Coalition forces.”103

        The U.S. Department of Defense has also internally acknowledged that the IIRO “is financed by
Usama bin Laden;”104 “has been directly linked to Al-Qaida and Usama Bin Ladin;”105 has “provided
financial assistance, funds transfers and legitimate cover for moving money under the pretense of
humanitarian relief to Al-Qaida;”106 “has connections to terrorist organizations and has channeled funds
to Islamic extremists from Afghanistan;”107 has a network of “field offices worldwide, many of which are
staffed by or support terrorists or mujahidin;”108 and, “is linked to… other extremist NGOs.”109

           A 2004 U.S. State Department diplomatic cable produced as evidence in the present litigation
alleges “that some elements of the International Islamic Relief Organization (IIRO) have been exploited by
terrorists and their financiers as a means of transferring assets, providing organizational cover, or
otherwise supporting extremist, violent operations.” The cable further identifies the IIRO “as the principal
sponsor of terrorist training camps in Afghanistan during the Taliban regime.”110

        As a result of the overwhelming evidence assembled against IIRO, the Canadian government
(among others) has classified it as “secretly fund[ing] terrorism,” officially branding it a terrorist charity.111
According to Canadian court documents, Mahmoud Jaballah, a suspected Egyptian Al-Jihad militant jailed
in Canada and accused of having contact with Al-Qaida operatives, spent three years working for the
International Islamic Relief Organization in Pakistan. The Canadian Security and Intelligence Service CSIS
“believes that Jaballah continues to actively support [Al-Jihad’s] terrorist agenda.” As a result of their

101
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Samir N. Al Hasan (ISN No. 043) (March
4, 2008).
102
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Rashed Awad Khalaf Balkhair (ISN No.
186) (June 28, 2006); U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Rashid Abd al Muslih
Qaid al Qaid (ISN No. 344) (May 13, 2005).
103
    U.S. Department of Defense, JTF-GTMO Matrix of Threat Indicators for Enemy Combatants.
104
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Samir N. Al Hasan (ISN No. 043)
(October 13, 2006).
105
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Abdallah Ibrahim al Rushaydan (ISN No.
343) (September 10, 2004).
106
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Abdallah Ibrahim al Rushaydan (ISN No.
343) (September 10, 2004).
107
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Ahmed Hassan Jamil Suleyman (ISN No.
662) (March 28, 2005).
108
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Rashid Abd al Muslih Qaid al Qaid (ISN
No. 344) (September 30, 2004).
109
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Rashid Abd al Muslih Qaid al Qaid (ISN
No. 344) (September 30, 2004).
110
    PEC-KSA 1464-1466.
111
    Evidence introduced by the Canadian government in the trial of Mahmoud Es-sayy Jaballah.

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                                                               FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38             Filed 12/09/24         Page 20 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


investigation, CSIS concluded that “the degree of Jaballah’s dedication to the cause is such that Jaballah
would resort to violence and would direct others to resort to violence if he was ordered to do so by leaders
such as Osama Bin Laden or Dr. Ayman Al-Zawaheri.”112 Among others, Jaballah was suspected of
cooperating with senior Canadian Al-Qaida lieutenant Ahmad Saeed Khadr (a.k.a. Abdel Rahman Al-
Kanadi), considered to be a highly influential figure in the international terrorist financing network.113
During Jaballah’s immigration trial, Mr. Arafat El-Asahi, the director of IIRO in Canada and a full-time
employee of the Muslim World League, was called to testify on Jaballah’s behalf. The director admitted
that Jaballah had “worked as a principal of one of our organizations in Pakistan” and that he had been
recommended by IIRO’s administrators in Pakistan as having “excellent character and good behaviour.”114

        From the late 1980s, IIRO offices, representatives, and employees have been involved in money
laundering, weapons smuggling, document fraud, terrorist financing, and acts of violence. According to
former Al-Qaida member Jamal al-Fadl, IIRO ran an Al-Qaida guesthouse in Peshawar, Pakistan.115 Al-Fadl
also spoke of two Al-Qaida members “who were involved in the financial aspects of the group”—Abu
Unaith al Saudi and Abu Hammam al Saudi—“purchased weapons for Al-Qaida during the war in
Afghanistan and maintained an office in Peshawar, Pakistan circa 1989.” According to al-Fadl, “this office
was located inside the offices of the Islamic Relief Organization (IRO).” During his debriefing, al-Fadl
“further advised that the manager and person who ran the IRO at the time was Wael Julidan whose alias
was Abu Al-Hassan Al-Madani… Julidan was one of Bin Laden’s closest friends at the time.”116

         Al-Fadl later identified Abu Hammam al-Saudi from Jeddah as the head of IIRO’s office in
Peshawar. According to al-Fadl, Abu Hammam was an influential operator within the Al-Qaida network,
who helped establish Bin Laden’s company in Sudan, Wadi al-Aqiq, “and would provide false IIRO
identifications for people to travel.” Al-Fadl told FBI investigators that some of the money Bin Laden
distributed during the Soviet-Afghan war came from a very wealthy Saudi that “was sent to the IRO run
by Abu Hammam.”117

        According to al-Fadl, Al-Qaida’s chief financial officer Saidi Madani al Tayyib “was working under
Abu Hamam Al-Saudi, the individual who ran the Islamic International Relief Organization in Peshawar,
Pakistan.” “Abu Hamam al Saudi would give money to Al-Tayyib who would then distribute certain
amounts to both Sheikh Said Al-Masri (an Egyptian) and Abu Yassir Sarrir (an Algerian).” Al-Fadl indicated
that the latter two individuals “were in charge of salary, travel, and health benefits for Al-Qaida.”118 Said
Al-Masri, a.k.a. Mustafa Abu al-Yazid, “took part in founding al-Qaida in 1989, and is a member of the

112
    “Respondent’s (Moving Party) Motion Record.” The Minister of Citizenship and Immigration and Mahmoud
Jaballah, Docket: DES-6-99 (June 2, 1999), at pp. 61-62.
113
    “Respondent’s (Moving Party) Motion Record.” The Minister of Citizenship and Immigration and Mahmoud
Jaballah, Docket: DES-6-99 (June 2, 1999), at p. 10.
114
    “Reasons for Order.” The Minister of Citizenship and Immigration and Mahmoud Jaballah, Docket: DES-6-99,
Federal Court of Canada (November 2, 1999), at p. 85.
115
    Cooperating Witness Statement (January-February 1998) (PEC-KSA 2144-2157), at p. 3.
116
    June 2, 2004 FBI Report (PEC-KSA 2133-2134).
117
    Cooperating Witness Statement (November 1996) (PEC-KSA 2115-2132), at pp. 6, 7, 10. See also Jamal Al-Fadhl,
Videotape Interviews, at pp. SA-894-901 (Jamal al-Fadl explained that the IIRO office in Peshwar, Pakistan, under
the leadership of Wael Jalaidan, provided IIRO identification cards to members of Al-Qaida to allow them to cross
the Afghanistan-Pakistan border.).
118
    Cooperating Witness Statement (January-February 1998) (PEC-KSA 2144-2157), at pp. 2-3.

                                                       19

                                                               FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                    Document 10594-38              Filed 12/09/24          Page 21 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


Shura council of Qaida al-Jihad.”119 He later ascended to the position of Al-Qaida’s emir in Afghanistan
and third-in-command in the Al-Qaida organization behind only Bin Laden and Dr. Ayman al-Zawahiri.

       Jamal al-Fadl recalled that the extent of support for Bin Laden within the ranks of IIRO ran
throughout the organization all the way to its headquarters in Jeddah, Saudi Arabia. According to al-Fadl,
one of IIRO’s managers in Jeddah, Sharaf al Din Ali Mukhar, had accompanied Bin Laden both to
Afghanistan and later to Sudan, where he “run everything for Bin Laden.”120

         In testimony before the Pentagon’s Administrative Review Board, Guantanamo Bay enemy
combatant detainees have made a number of references to their involvement in IIRO—such as a Saudi
national from Dammam, Ghanim Abd al Rahman Ghanim al Huwaymadi al Harbi (ISN No. 516), who
identified himself as “a [Saudi] government employee of a charitable organization… the IIRO, International
Islam Relief Organization,” and insisted that Al-Qaida’s Al-Farouq training camp in Afghanistan—where at
least seven of the 9/11 suicide hijackers were trained—was a “charity-funded camp.”121 Another
detainee—an unnamed Algerian who “voluntarily traveled from Mauritania, Africa to Islamabad, Pakistan
in 1987 to work for [IIRO]”—likewise admits that he “received weapons training on the Kalashnikov rifle
while working for the IRO… near the border town of Peshawar.”122

        During further testimony before U.S. Defense Department personnel, Guantanamo Bay detainee
Said Muhammad Husayn Qahtani (ISN No. 200) described how IIRO offered fraudulent employment and
documents to foreign mujahideen fighters who wished to cross the border into Chechnya and engage in
combat with the Russian military: “The detainee contacts relief organizations such as the Islamic Relief
Organization and Haramain Organization. The detainee’s intention was to join a relief organization
because those entities would offer him a way to get into Chechnya, whose borders were closed at that
time. Once there, the detainee would be free to leave the relief organization and join the fighting.”123
According to Guantanamo Bay detainee Abdul Latif Elbanna (ISN No. 905), while away from the battlefield,
“fighters from Afghanistan” lived for free during the early 1990s at an IIRO-owned guesthouse in the
Hayatabad district of Peshawar.”124 IIRO’s operations in Pakistan were allegedly responsible for
sponsoring 7 Al-Qaida training camps in the region.125




119
    http://www.alhesbah.org/v/showthread.php?t=130663. May 26, 2007.
120
    Jamal Al-Fadhl, Videotape Interviews, at pp. SA-680 and SA-907.
121
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Abd al Rahman Ghanim al Huwaymadi
al Harbi (ISN No. 516).
122
    Set_12_1179-1239, at p. 16.
123
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Said Muhammad Husayn Qahtani (ISN
No. 200) (August 12, 2006).
124
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Abdul Latif Elbanna (ISN No. 905)
(August 26, 2005).
125
    January 1996 CIA Report on “International Islamic NGOs” and links to terrorism. Page 1. See also Affidavit by
Senior Special Agent David Kane (Bureau of Immigration and Customs Enforcement, Department of Homeland
Security). United States of America v. Soliman S. Biheiri. United States District Court for the Eastern District of
Virginia, Alexandria Division, Case #: 03-365-A (August 14, 2003), at p. 2.

                                                        20

                                                                 FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                     Document 10594-38               Filed 12/09/24         Page 22 of 55

                               SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


         In March 1995, authorities in Macedonia ordered the closure of the IIRO branch office in that
country and the expulsion of its staff based on concerns of terrorism financing.126 Six months later, a
German and Austrian counterterrorism task force raided the branch office of IIRO in Vienna, Austria as
part of a weapons smuggling and terrorism financing investigation into the Third World Relief Agency
(TWRA).127 In early 2000, IIRO’s shared office in Kosovo with the Saudi Joint Relief Committee (SJRC) was
raided in an attempt to thwart potential attacks on U.S. interests.128. Following the 1998 Embassy
bombings in East Africa, IIRO’s chapter in Nairobi was deregistered by the government of Kenya for its
alleged connection to the terrorists responsible for the devastating blasts. In the wake of the American
retaliation for the suicide bombings, Indian police arrested a number of suspects charged in a successive
attempted attack on the U.S. consulates in Madras and Calcutta. This terrorist cell was led by a
Bangladeshi national, Sayed Abu Nasir, acting on orders from, among others, Shaykh Ahmed al-Gamdin,
director of IIRO operations in Asia.129 In 1999, the government of Azerbaijan closed the IIRO branch office
in Makhachkala and confiscated the IIRO’s assets.130. Following the 9/11 attacks, the government of
Pakistan “identified and expelled some two dozen Al-Qaida supporters who had been working for the
IIRO-sponsored organizations in Pakistan.”131 IIRO’s offices in neighboring Tirana, Albania were searched
at least twice by local authorities in 2001 and 2003.132 In 2005, the government of Bahrain identified and
closed an IIRO bank account that had been opened illegally and was being used “to circumvent Saudi
restrictions on sending money abroad.”133 In 2006, the government of Bangladesh seized and froze the
IIRO’s bank accounts at the Islami Bank of Bangladesh based on concerns expressed by the U.S.
government that the IIRO has ties to al-Qaida.134

         Dr. Farid Qurashi, IIRO’s former “general supervisor,” has publicly boasted that “IIRO was the first
relief organization to enter Bosnia-Herzegovina and the Balkan region. From the very beginning of the
Bosnia war, we were there to help.”135 According to the Bosnian Muslim Army’s Military Intelligence
Service, IIRO’s employees seemed to oddly “fluctuate… in and out of the humanitarian organization. They
successively communicate with the members of the squad ‘El-Mudzahidin’ (Tesanj) and are the bearers
of a so-called Pan-Arabian idea…. They tend to change traditional living and religious norms of behavior

126
    FED-PEC 220506-220510; FED-PEC 104843-104856. See also The Sunday Times, “Saudis Fund Balkan Muslims
Spreading Hate of the West,” March 28, 2010 (“Classified documents seen by The Sunday Times reveal that
Macedonia officials are also investigating a number of Islamic charities, some in Saudi Arabia, which are active
throughout the Balkans and are suspected of spreading extremism and laundering money for terrorist
organizations. One of the groups under scrutiny is the International Islamic Relief Organization from Saudi Arabia,
which is on a United Nations blacklist of organizations backing terrorism.”).
127
    Austrian Federal Office of Criminal Investigation. ”Expert report concerning the area of financial investigations
relating to the judicial assistance request, ref. no. INV/10289/T09-PH (245), dated 8/27/2002 relating to the “Third
World Relief Agency.” ST 45-2 - 185/02. August 28, 2003.
128
    FED-PEC 97363-97365, IIRO 41030, IIRO 39085-39086, IIRO 39278, IIRO 122181-122181. See also IIRO 122181-
122182 (IIRO remained under surveillance by KFOR troops in 2003.).
129
    Dugger, Celia W. “Anti-U.S. Plot in India Is Foiled; Militant Islamist Intended to Bomb 2 Consulates, Police Say.”
The New York Times. January 21, 1999, at p. 4.
130
    IIRO 284675, IIRO 103718, IIRO 96423, IIRO 48084.
131
    FED-PEC 144926-145008 (December 2, 3003 Report of the United Nations Security Council Committee
Concerning Al-Qaida and Taliban).
132
    IIRO 42360, IIRO 42373, IIRO 122003.
133
    FED-PEC 220490-220491, FED-PEC 210514-210517.
134
    FED-PEC 220511-220513.
135
    “IIRO saves forty thousand Bosnians from starvation.” Moneyclips. July 4, 1993.

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                                                                 FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                    Document 10594-38              Filed 12/09/24         Page 23 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


of Bosnians-Moslems. This culminates through various reactions and confrontations, fights within the
community.”136 In an exclusive prison interview, former American mujahideen recruit Randall Todd Royer
(a.k.a. Ismail Royer), who participated in the Bosnian jihad, acknowledged that IIRO’s reputation was
“well-known” in the Balkans: “it was well known that they helped get ‘people’ into Bosnia.” Royer
explained that another mujahideen fighter in Zenica had openly discussed his efforts to use IIRO in order
to obtain identity cards for fellow jihadis.137

         By mid-1993, the operations of the IIRO in Bosnia-Herzegovina were under the primary oversight
of a Palestinian national known as Abdelaziz Zaher (a.k.a. Abu Anas, Abu Enes) and his deputy, an Algerian
national, Djamel Lamrani (a.k.a. Abu Musab al-Djazairi). Zaher was expelled from his former residence in
Belgrade at the beginning of 1993 after being tied by Serbian authorities to various organizations
suspected of aiding armed fundamentalist militant groups, including IIRO.138 In the aftermath of his
expulsion from Yugoslavia, Zaher moved his base of operations to Vienna and Zagreb.139 One of the
members of IIRO’s initial management team in Vienna in 1992, Sukarno Ali Hassanein (brother of Third
World Relief Agency chief El Fatih Hassanein), recalled during a later interview with Austrian police, “I
know him as Zaher Abdelaziz, [he] works for IGASA/IIRO. He might be the boss for Vienna or Zagreb. He
is one of our successors at IGASA.”140

         During a June 2019 deposition of Abdulrauf Khalaf Al-Shorman, former chief of the IIRO branch
office in Sarajevo, al-Shorman confirmed that Abdelaziz Zaher “was the supervisor” of IIRO’s offices in
Bosnia-Herzegovina, Croatia, and Slovenia: “The offices of the IIRO, yes.” Al-Shorman also confirmed that
Zaher was known to him by the pseudonym Abu Anas: “yes, of course. It’s a name, it’s a nickname,
because his son is Anas, so he is Abu Anas, father of Anas... the first time he visited Sarajevo—the first
time I saw him, in his first visit to Sarajevo in 1994, back then I was an employee with the orphans.” Al-
Shorman recalled meeting Zaher on two separate occasions, “probably ‘95 or even ‘94, same year.... He
visited the office and he came to greet the employees.... He was the executive director of the offices.”141

       Abdelaziz Zaher was a witness, and a possible accessory to, the 1994 murder of British aid worker
Paul Goodall near Zenica—acknowledged by the Bosnian Muslim Army at the time as “one of the most




136
    “Disruption of the enemy’s activities.” Memorandum dispatched from Zenica by Colonel Ramiz Dugalic,
commander of the Ministry of Defense Security Administration Republic of Bosnia and Herzegovina. Army of
Bosnia and Herzegovina (ARBiH) Security Service Department. Classified No. 258-33. September 14, 1994.
137
    Interview with Randall Todd Royer (a.k.a. “Ismail Royer”) at the Alexandria Detention Center; Alexandria, VA.
June 30, 2004.
138
    Vujicic, D. “Bombs in the Name of the Almighty: Part II.” Vecernje Novosti (Belgrade) (September 27, 2001), at
p. 13.
139
    According to a report from the Bosnian MUP police service, “in those days”, four other individuals were known
to work alongside Zaher in the IIRO’s regional headquarters: Saudi national Dr. Abdala Alabdan, “Abdalin”,
Palestinian national Muhamed Salah, and Syrian national Mustafa Hamami. See: “Subject: ABDEL RAHMAN
MAMDOUH – Operative Data.” Internal memorandum from the BiH FMUP Special Detachment, Department for
the Tuzla Canton; #12/2-3-356/04. Dated: April 5, 2005.
140
    Minutes of Austrian police interview with Sukarno Ali Hassanein following search of premises belonging to El
Fatih Hassanein. September 5, 1995. FED-PEC 224262, FED-PEC 224273-224280.
141
    Transcript, Deposition of Abderraouf Khalaf Alshorman (June 21, 2019), at pp. 229, 269-271.

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                                                                FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                    Document 10594-38               Filed 12/09/24         Page 24 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


serious incidents caused by the members of the [El-Mujahidin] unit.”142 Two days later, local authorities
arrested three men: Saudi national Abdul Hadi al-Qahtani (a.k.a. Abdul Hadi al-Gahtani), “Abu Khulud al-
Yemeni,” and “Abu Enes” (a.k.a. IIRO chief Abdelaziz Zaher). At the time of his arrest, al-Qahtani was
carrying an identification card issued by the Zenica office of the Saudi High Commission for Relief.143
Dzemaludin Mutapcic, the deputy prosecutor of Zenica, announced to reporters that al-Qahtani had come
to Bosnia “to fight in the way of God, to save Bosnia’s Muslims.”144 When shown a photograph of al-
Qahtani, two British eyewitnesses allegedly identified him as the lead assailant behind the murder of Paul
Goodall.145 Asim Fazlic, then-chief of police in Zenica, commented, “One of the strangest elements is that
we still do not know the exact identity of [those]… we hold in Zenica. They are very uncooperative and so
far still insist, in spite of their car, uniform and weapons, that they are humanitarian aid workers helping
privately funded organisations.”146

        Following the end of the war in Bosnia-Herzegovina in late 1995, Abdelaziz Zaher and IIRO
continued their operations in the Balkans. The same year, “with the financial help of Selim Ben Mafuz,
the executive director of ‘Igasa’ in Vienna,” Zaher and other local IIRO organizers founded two commercial
enterprises, “Sahara” and “Isra-Trade” which allegedly were the recipient of suspicious financial transfers
from “residential accounts of the H.O. ‘Igasa.’”147 According to a guidebook on Islamic charitable
organizations printed by NATO, in April 1995, “the regional financial accountant for the IIRO, an Egyptian
named Hossam Meawad Mohammad Ali, was detained by Croatian authorities in a raid in Zagreb” for his
involvement in alleged criminal activity.148

        A November 2002 U.S. State Department diplomatic cable titled “Terrorist Finance: Bosnia’s Dirty
Dozen,” identifies a number of Saudi charities that “are currently involved in providing financial support
to known terrorist organizations,” including the IIRO, Al-Haramain Islamic Foundation, Saudi High
Commission, and others.149 An August 2003 U.S. State Department diplomatic cable titled “Terrorist
Finance: Dirty Dozen’s Web of Deceit,” reports that the IIRO was implicated in weapons smuggling: “The
RS Police arrested 9 Bosnian Serbs in July 2003 for allegedly smuggling weapons to the International
Islamic Relief Organization (IIRO), known locally as Igassa.”150


142
    “Review of the Information on Activities of the Persons from Afro-Asian Countries Directly Before the War and
During the War in the Territory of BIH Republic.” Report written by the BIH Administration of the Military Security
Service– Department for Analytical and Informative Affairs.” Sarajevo; May 6, 1995.
143
    Higgins, Andrew et al. “Assault on Charities is Risky Front for U.S.” The Wall Street Journal. October 16, 2001.
144
    Stephen, Chris. “No Justice over Murdered British Aid Worker as Suspect Languishes Behind Prison Bars.” The
Guardian (London) (March 23, 1994), at p. 1.
145
    Stephen, Chris. “No Justice over Murdered British Aid Worker as Suspect Languishes Behind Prison Bars.” The
Guardian (London) (March 23, 1994), at p. 1.
146
    Loyd, Anthony. “3 held for Goodall murder.” The Times (London). February 2, 1994.
147
    “Subject: ABDEL RAHMAN MAMDOUH – Operative Data.” Internal memorandum from the BiH FMUP Special
Detachment, Department for the Tuzla Canton; #12/2-3-356/04. Dated: April 5, 2005.
148
    January 1996 CIA Report on “International Islamic NGOs” and links to terrorism. Page 1. See also Affidavit by
Senior Special Agent David Kane (Bureau of Immigration and Customs Enforcement, Department of Homeland
Security). United States of America v. Soliman S. Biheiri. United States District Court for the Eastern District of
Virginia, Alexandria Division, Case #: 03-365-A (August 14, 2003), at p. 2.
149
    PEC-FOIA 4499-4503.
150
    PEC-FOIA 49927-49932. See also The Islamic Library – Lessons of Sheikh Saad Buraik, “Explaining the Meaning
of Jihad for Support,” at p. 3095 (“Praise be to Allah, we know that the Islamic Relief Organization is an official

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                                                                 FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                    Document 10594-38               Filed 12/09/24         Page 25 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


          According to the Philippine military’s southern command, the IIRO local office in Zamboanga City
is the prime coordinating center for the Abu Sayyaf Group (ASG), a coalition of secessionist Islamic
militants in the southern region of the Philippines linked to Al-Qaida. The Zamboanga office, established
in 1992, was under the direct control and guidance of Mohammad Jamal Khalifa, brother-in-law of Usama
Bin Laden.151 Khalifa, known to be close to Usama (and who had an account at ARB152), was detained by
American law enforcement officials as he attempted to return from San Francisco to the Philippines on
December 16, 1994. Travelling with Khalifa on this occasion was Mohamed Loay Bayazid (a.k.a. Abu Rida
al-Suri), one of the founders and key international operatives of Al-Qaida.

         After searching Khalifa’s electronic organizer and personal address book, agents found entries for
two telephone numbers of intimate associates of Ramzi Yousef, the convicted bombmaker in the February
1993 World Trade Center attack. They also discovered documents on Khalifa “referring to the
assassination of bishops and bombings of churches (at a time when evidence gathered in the investigation
indicates that… others were planning to kill the Pope during a planned January 1995 visit to the Philippines
and after churches had already been bombed in the Philippines in the preceding year).”153 Four days later,
a State Department cable to the American Embassy in Khartoum, Sudan referred to IIRO administrator
Khalifa as a “known financier of terrorist operations.”154

        U.S. law enforcement officials were also able to recover a handwritten Arabic document from the
luggage of Mohammad Jamal Khalifah which apparently represents a curriculum catalogue for an IIRO-
sponsored school in the Philippines known as the Institute of al-Imam al-Shafi for Education (a.k.a. Dar al
Imam al Shafi’i). The catalogue indicates that the institute is headed by Mohammad Jamal Khalifa (a.k.a.
Abu al-Baraa). Advanced level courses at the institute included “Propaganda: introduction, its relation to


agency under the command, care, and sponsorship of the country. It has big, clear, and strong projects in all areas
of Jihad, in addition to the relief projects and orphan sponsorship projects. This also applies to the trusted people
whom we know. This means that if someone comes to you and gives you money saying, ‘Oh, brother, take this.
You are going to Afghanistan,’ just take it and hand it over to Sayyaf, or hand it over to Hekmatyar. Or, use it to
buy a thousand missiles and take them there. If you can hold the trust, we say, ‘May Allah reward you with
goodness.’ And if you come and hand it over to the Islamic Relief Organization, it is a reliable and well-known
agency and we do not doubt about it.”).
151
    See also PEC-KSA 294-295 (Notices authored by MWL Secretary General Dr. Abdullah Naseef and IIRO Director
General Dr. Farid Y. Qurashi certifying that Mohammed Jamal Khalifa is “the Regional Director for the IIRO in
South-East Asia” and “he is authorized to sign any agreement between the governments of South-East Asia
Countries and the Muslim World League and the International Islamic Relief Organization.”); FED-PEC 210798-
210808 (IIRO’s September 20, 1991 filing with the Philippines Securities and Exchange Commission establishing the
IIRO branch office in the City/Municipality of Makati, Metro Manila under the leadership of Mohammed Jamal
Khalifa.).
152
    ARB 841-842, ARB 1098-1105.
153
    Sworn affidavit of FBI Special Agent Robert Walker. United States of America v. Benevolence International
Foundation, Inc. April 29, 2002. District of Illinois, Eastern Division. Case number: 02CR0414. See also 1996
Central Intelligence Agency report (FED-PEC 104843-104856) (“The former head of the IIRO office in the
Philippines, Mohammad Jamal Khalifa, has been linked to Manila-based plots to target the Pope and U.S. airlines;
his brother-in-law is Usama Bin Ladin. Another high-ranking official in the Philippines leads Hamas meetings, and
the majority of Hamas members in the Philippines are employed by the organization.”).
154
    Sworn affidavit of FBI Special Agent Robert Walker. United States of America v. Benevolence International
Foundation, Inc. April 29, 2002. District of Illinois, Eastern Division. Case number: 02CR0414. See also December
2004 U.S. State Department diplomatic cable (PEC-KSA 2275-2276).

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                                                                 FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                      Document 10594-38                Filed 12/09/24          Page 26 of 55

                               SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


jihad, illustrations of Islamic propaganda, Zionist hegemony over channels of propaganda…. Security of
individuals, surveillance, how to escape surveillance, security of secret houses and secret documents,
methods of information gathering on individuals… how to resist, importance of steadfastness and
judgement to confession, methods of torture used in investigations.” An entire section of the curriculum
is dedicated exclusively to “Jihad:” “Legal provisions for assassinations and kidnapping; Legal provisions
for assassinate priests and Christians; Legal provision for bombing churches and places of worship; Legal
provisions for martyrdom operations…. Assassinations: introduction, causes, methods, how to implement
it; Explosives: types, how to put together simple explosives.” It emphasized the inclusion of “a round
(training cycle) on weapons and explosives, ‘full military training.’”155

         Following Khalifa’s arrest, the Department of State’s Coordinator for Counterterrorism, Philip C.
Wilcox, Jr., submitted several letters to the immigration court in support of Khalifa’s continued detention.
In a December 16, 1994 letter, Wilcox stated that “the United States Government has evidence that
Muhammad Jamal Khalifa, who has lived in the Philippines for a number of years, has provided financial
support to the Philippine terrorist group Abu Sayyaf. We also have information that while in the
Philippines he has been involved in organizations closely linked to Hamas.”156 In a second letter dated
December 20, 1994, Wilcox stated that Khalifa “has engaged in a repeated pattern of providing financial,
logistical and training assistance to international terrorists.”157

         A U.S. State Department diplomatic cable issued at this same time further described Khalifa’s ties
to Usama bin Laden and terror groups in that region: “Khalifa is an officer of an Islamic NGO in the
Philippines that is a known Hamas front and has financed terrorist operations. Khalifa is reported to be
the brother in law of Usama Bin Laden, the Sudan-based financier of Islamic extremists. Khalifa is believed
to have provided support to the Philippine terrorist group Abu Sayyaf.”158 Additional U.S. government
diplomatic cables describe Khalifa’s use of the IIRO to finance the Abu Sayyaf Group (ASG) terrorist
organization. For instance, an April 1995 cable issued by the U.S. Embassy in Manila, Philippines states
“Mohammed Jamal Khalifa, the former head of the International Islamic Relief Organization in Manila, [i]s
a principal financier of Abu Sayyaf.”159




155
    FED-PEC 202848-202852. See also MWL 8434-8453 (IIRO publication identifying the Dar al Imam al Shafi’i as
one of several schools in the Philippines supported by the IIRO’s Social Services Division); FED-PEC 211425-211465
(Philippines Intelligence report stating that teachers and staff of the Dar al Imam al Shafi’i, “one of the affiliates of
Khalifa’s network, have undergone training in a Muslim training camp named ‘Abu Haidar,’” which was used to
train members of the Moro Islamic Liberation Front (“MILF”) terrorist group and the IIRO.).
156
    PEC-KSA 2260-2261.
157
    PEC-KSA 2262-2263.
158
    PEC-KSA 2264-2274.
159
    PEC-KSA 2277-2280. See also European Parliament, Directorate-General for External Policies, “The Involvement
of Salafism/Wahhabims in the Support and Supply of Arms to Rebel Groups Around the World,” June 2013, at p. 9
(“The so-called Khalifa network counted at least twelve charitable organisations and front companies that
provided funds to both the Moro Islamic Liberation Front (MILF) and Abu Sayyaf. One of the most active
organisations in this sense was the IIRO. In fact, IIRO-funded facilities were mainly built in Mindanao, a region
under the control of the aforementioned rebel groups. For instance, the head of IIRO’s branch office in Tawi,
Mindanao, was Abdul Asmad, former Abu Sayyaf’s intelligence chief until 1994 when he died (Abuza, 2003, p. 27).
The office was used by Al Qaeda to siphon money on behalf of the MILF and Abu Sayyaf.”).

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                                                                   FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38              Filed 12/09/24         Page 27 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


         An April 2004 U.S. State Department cable states that the IIRO is “tied to al-Qaida and other
terrorist organizations. For example, IIRO has been cited as the principal sponsor of terrorist training
camps in Afghanistan during the Taliban regime. IIRO has also been cited as the conduit for funds from
Usama Bin Laden to terrorist organizations, specifically that the Abu Sayyaf cell in Manila was founded
with money sent by Bin Laden to Mohamed Jamal Khalifa through IIRO.”160 A May 23, 2005 U.S. State
Department cable states that the IIRO was used by Khalifa to covertly transfer funding and materials to
Abu Sayyaf Group and associated terror groups in the Philippines: “Operated by Usama Bin Laden’s
brother-in-law, Saudi businessman Mohammed Jamal Khalifa, and with links to captured al-Qaeda
lieutenant Khalid Shaikh Mohammed, the IIRO served as a legal front to conceal the transfer of al-Qaeda
funding and materiel to the Abu Sayyaf Group and possibly other insurgents or terrorists operating in the
Philippines. Although Khalifa left the Philippines in 1994 and the IIRO was shut down, there remain
concerns that his network and associates may still be operating here.”161

         In August 2006, the U.S. Treasury Department announced that it was blacklisting the Philippine
and Indonesian branch offices of IIRO as Specially Designated Global Terrorist (SDGT) entities for
“facilitating fundraising for al Qaida and affiliated terrorist groups.”162 According to a statement from the
Treasury Department:

        “The IIRO-PHL is a source of funding for the al Qaida-affiliated ASG [Abu Sayyaf Group].
        IIRO-PHL has served as a liaison for the ASG with other Islamic extremist groups. A former
        ASG member in the Philippines familiar with IIRO operations in the country reported that
        a limited amount of foreign IIRO funding goes to legitimate projects and the rest is
        directed to terrorist operations. The Philippine branches of the IIRO were founded
        sometime in the late 1980s or early 1990s by Muhammad Jamal Khalifah, who is Usama
        bin Laden’s brother-in-law and has been identified as a senior al Qaida member. IIRO-
        PHL’s director, Abd al-Hadi Daguit, is a trusted associate of Khalifah. While working as the
        director of IIRO-PHL, Khalifah maintained close connections with al Qaida through his
        relations with senior al Qaida supporters, including Specially Designated Global Terrorist
        (SDGT) Wa’el Hamza Julaidan. At the time Khalifah directed the IIRO-PHL, he employed
        an ASG intelligence officer as the provincial director of the IIRO-PHL in the Tawi-Tawi
        region of the Southern Philippines until that officer's death in 1994. In the mid 1990s, a
        major ASG supporter, Mahmud Abd Al-Jalil Afif, served as the director of the IIRO-PHL and
        used the organization to funnel money to terrorist groups including the ASG. Afif was
        implicated in the assassination of Father Salvatore Carzeda in San Jose Gusu, Zamboanga
        City, Philippines on June 20, 1992.... The IIRO Indonesia director has channeled money to
        two Indonesia-based, JI-affiliated foundations. Information from 2006 shows that IIRO-
        IDN supports JI by providing assistance with recruitment, transportation, logistics, and



160
    PEC-KSA 1467-1470.
161
    FED-PEC 220479-220481.
162
    https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx. See also FED-PEC 202100-202112,
FED-PEC 202113-202132 (U.S. Treasury Department Office of Foreign Asset Control’s evidentiary memorandum
supporting the August 3, 2006 Executive Order 13224 designations of the IIRO branch offices in the Philippines and
Indonesia and the Executive Director of the IIRO’s Eastern Province Branch, Abd al Hamid Sulaiman al Mujil).

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                                                               FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38              Filed 12/09/24         Page 28 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


        safe-havens. As of late 2002, IIRO-IDN allegedly financed the establishment of training
        facilities for use by al Qaida associates.”163

         In connection with this litigation, the IIRO has produced a letter written in 2002 from IIRO
Secretary General Dr. Adnan Basha citing a visit to IIRO’s headquarters by a delegation from the Moro
Islamic Liberation Front (“MILF”).164 The MILF is an armed Islamist insurgent group in the southern
Philippines whose fighters have engaged in joint terrorist attacks with the Abu Sayyaf Group in the
Philippines as recently as July 2007.165

        As part of its counterterrorism enforcement action against various IIRO offices, the U.S. Treasury
additionally personally designated the former Executive Director of the Eastern Province Branch of IIRO
in Saudi Arabia, Abd Al Hamid Sulaiman Al-Mujil.166 According to an accompanying statement from the
Treasury Department:

        “Al-Mujil has been called the ‘million dollar man’ for supporting Islamic militant groups.
        Al-Mujil provided donor funds directly to al Qaida and is identified as a major fundraiser
        for the Abu Sayyaf Group (ASG) and Jemaah Islamiyah (JI)… In 2004, Al-Mujil invited a
        Philippines-based JI supporter to Saudi Arabia under the cover of traveling for the hajj
        (the Muslim pilgrimage), and planned to provide him with cash to carry back to the
        Philippines to support organizations including JI. Al-Mujil was also present in Afghanistan
        in the late 1990s and personally knew Usama Bin Ladin and deceased al Qaida co-founder
        Abdallah Azzam. Al-Mujil traveled continuously to meet with members of Bin Ladin’s
        organization in Arab countries. In the 1990s, Al-Mujil established a relationship with
        senior al Qaida operational planner Khalid Shaykh Muhammad. Al-Mujil has a long history
        of providing support to terrorist organizations. He has contributed direct financial
        assistance to ASG leaders, including Abdurajak Janjalani (deceased). The Indonesian and
        Philippines branches of IIRO have received support from IIRO-EP, which in turn is
        controlled by Al-Mujil. Indeed, he is often responsible for authorizing payment transfers
        for IIRO Philippines (IIRO-PHL) and IIRO Indonesia (IIRO-IDN).”167

        Former Undersecretary for Terrorism and Financial Intelligence (TFI) at the U.S. Treasury
Department Stuart Levey indicated that Al-Mujil “used his position to bankroll the al Qaida network in
Southeast Asia” and “maintained a cell of regular financial donors in the Middle East who support
extremist causes.”168 A June 16, 2006 U.S. diplomatic cable details a visit by then-Homeland Security
advisor Frances Townsend to Saudi Arabia in order to quietly announce to the Saudis the U.S.
government’s intention to designate IIRO’s branch offices, as well as Mujil. According to the cable, “The
United States is also aware of IIRO’s significant illegitimate and illegal activities that fund terrorist activity.
We have been concerned about IIRO for many years now and have shared our concerns and information

163
    https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
164
    IIRO 97450. See also IIRO 93331-93333 (correspondence between the Chairman of the Moro Islamic Liberation
Front (“MILF”) and MWL Secretary General Abdullah al Turki).
165
    https://www.dni.gov/nctc/groups/abu_sayyaf.html.
166
    https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
167
    https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.
168
    https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx.

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                                                                FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38               Filed 12/09/24         Page 29 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


with the Government of Saudi Arabia on a regular basis.”169 Al-Mujil personally held accounts at Al-Rajhi
Bank.170

        Al-Rajhi Bank records also show donations from IIRO’s account to the “Al Islah Association” in
        171
Yemen.      Shaykh Abdul-Majid az-Zindani is the longtime ideological leader of the Yemeni Al-Islah
opposition party and a celebrated and veteran Arab mujahideen commander. From 1984 until the end of
the decade, Zindani brought between 5,000 and 7,000 Arabs, including many Yemenis, to Al-Qaida camps
in Afghanistan for military training and religious teaching under his personal guidance. He was an integral
part of the Arab-Afghan movement and is reputedly a close confidant and friend of Usama Bin Laden.
Subsequent raids of Saudi charitable groups in central Bosnia turned up a large cache of sensitive
documents belonging to Al-Qaida--including an Arabic letter from “Abu Anees” was found under the
letterhead of IIRO, as a subsidiary of MWL. The letter summarized a meeting held between Usama Bin
Laden and, among others, Shaykh Abdel Majid al-Zindani. The discussion at the meeting centered around
the creation of an arms and personnel smuggling operation “in a way that [MWL] offices will be opened…
for the Pakistanis, and the attacks will be launched from them [these offices]… All of the brothers’
passports are to be kept with the strong organizations, in order to avoid any search action due to
pressuring from the embassies, or anything else which may occur.”172

         In the aftermath of the Soviet-Afghan jihad, Zindani encouraged refugee Arab-Afghan fighters to
resettle and continue their training in the mountainous, tribal regions of Yemen.173 He started his own
religious university there, the very same institution where the future American Taliban John Walker Lindh
studied before traveling on to Pakistan. According to a Jordanian criminal indictment, Shaykh az-Zindani
gave $10,000 on behalf of Usama Bin Laden to help finance a radical Islamic terrorist cell in Jordan that
committed several fatal bombings in 1994.174 Cassette tapes of Zindani’s fiery sermons in the wake of
September 11, 2001, allege—among other things—that President George W. Bush conspired with the
Jews to destroy the World Trade Center and then blame it on Muslims.175

        In January 2010, a former student of Zindani’s in Yemen, Abu Hatem Mohammed Naqaa Qaed al-
Hamli (a.k.a. Abu Dujanah al-Sanaani) posted an online appeal to Zindani on a prominent Al-Qaida web
forum. Following his work at Zindani’s Al-Iman University, Hamli had left Yemen and joined Al-Qaida in
Afghanistan, becoming a bomb-making expert:

        “I give you the good news that we are here on the land of Khorasan (Afghanistan)… Every
        day we excel in power and number and equipment while our enemy is humiliated and
        degraded. I assure you about the conditions of my comrades, the students from al-Iman
        University; they are in the frontline on the battlefields against the cross-worshippers. Your

169
    FED-PEC 220571-220572.
170
    ARB 745-787, 788-810, 1051-1062, 1063-1067.
171
    ARB 2477-2572 at 2504. See also ARB 5147-5287 at 5199, 5202, 5209, 5210, 5214.
172
    Undated International Islamic Relief Organization (IIRO) Memorandum seized by the FBI in Bosnia, March 2002.
Document name: TAREEKHOSAMA/49/Tareekh Osama.121. United States of America v. Enaam M. Arnaout. United
States District Court Northern District of Illinois, Eastern Division. Case #: 02 CR 892.
173
    Bruce, James. “Arab Veterans of the Afghan War.” Jane’s Intelligence Review. April 1, 1997; Vol. 7; No. 4. Page
175.
174
    “Prosecutor Issues ‘Explosions’ Case Indictment.” Al-Dustur (Amman). July 8, 1994.
175
    Kristof, Nicholas D. “The True Arab Leaders.” The Washington Post. March 29, 2002.

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                                                                FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38              Filed 12/09/24        Page 30 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


        students here and in Iraq are leading the mujahideen with their Shariah knowledge, which
        they learnt from you… You were cautious to raise young men who support this religion
        and sacrifice for its sake, and here is the land of Afghanistan which can testify to that.”176

        In February 2004, the UN 1267 Sanctions Committee designated Abdelmajid al-Zindani for his
association with Al-Qaida.177 According to the UN Sanctions Committee, ”Abd-al-Majid Aziz al-Zindani has
provided direct support for terrorism... Mr. al-Zindani had a role in providing advice and views to Usama
bin Laden (deceased) and others during the formation of Al-Qaida in the period 1993 to 1998.
Subsequently, he actively recruited for Al-Qaida’s operations. Further, he has continued to provide
support to Al-Qaida, in particular Al-Qaida in the Arabian Peninsula, including through his public
statements and role as a highly influential Yemeni cleric.”178 In early 2002, an Islah party official allegedly
told an FBI confidential informant that “he worked directly for a high ranking official in the Islah party of
Yemen purchasing weapons for al Qaeda.”179 Separately, a 2002 CIA report noted, “Islamic extremists in
Yemen named Al Rajhi Bank as a preferred bank for transactions.”180

        The Islamic Wisdom Worldwide Mission (IWW) is another separate Filipino Islamic charitable
organization with links to the network of Bin Laden’s brother-in-law Mohammed Jamal Khalifah. A listing
of Sulaiman al-Rajhi’s “Foreign and Domestic Aid for the Year 1419-1420 AH (1998-1999AD),” identifies a
February 22, 1999 payment of 60,000 riyals from Sulaiman al-Rajhi to the benefit of the IWW.181 There is
also a corresponding check for $16,000 from Al-Rajhi Banking & Investment on behalf of Abdul Rahman
Bin Abdullah Alrajhi and Sulaiman Abdel Aziz al-Rajhi.182 A letter accompanying the check from Abdul
Rahman bin Abdulla al-Rajhi reads, “Please fine enclosed herewith the check mentioned above, which is
a donation from Sheikh Suleiman bin Abdel Aziz al-Rajhi for the benefit of Islamic Wisdom Worldwide
Mission in the Philippines... do not post this in the media.”183

        A Filipino Bureau of Immigration report cited by the Associated Press allegedly noted that after
“[Mohammed Jamal] Khalifa's non-government organization, International Relations and Information
Center, was shut down after his arrest in 1995, a number of employees were absorbed by” IWW.184 A
separate Filipino military intelligence document reportedly identified IWW as a “conduit of foreign
funding” to the Abu Sayyaf terrorist faction.185 In October 2002, Filipino security officials arrested
Jordanian national Mohammad Amin al-Ghaffari, the director of Islamic Wisdom Worldwide, in the

176
    http://www.alfaloja.net/vb/showthread.php?t=100239. January 18, 2010.
177
    U.S. Department of State; office of the Coordinator for Counterterrorism. Country Reports on Terrorism 2004.
April 2005. See also:
https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/individual/abd-al-majid-aziz-al-
zindani.
178
    https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/individual/abd-al-majid-aziz-
al-zindani
179
    Affidavit in support of arrest warrant by FBI Special Agent Robert Fuller. United States v. Mohammed Ali Hasan
al-Moayad. United States District Court; Eastern District of New York. January 5, 2003.
180
    CIA 149-150.
181
    NL 15578, 15043-15046 at 15044.
182
    NL 10471.
183
    NL 10471.
184
    https://www.theintelligencer.com/news/article/Jordanian-Held-in-Philippines-Blast-10525144.php
185
    https://www.philstar.com/headlines/2001/09/26/134794/government-hot-sayyaf-money-trail. September 26,
2001. See also: https://gulfnews.com/uae/abu-sayyaf-leaders-admit-funding-by-bin-laden-1.425629.

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                                                               FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                    Document 10594-38              Filed 12/09/24          Page 31 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


Filipino city of San Juan. According to Filipino Immigration Commissioner Andrea Domingo, al-Ghaffari
arrived in the Philippines on a student visa on Nov. 15, 1985 and was blacklisted in 1995 at the request of
the Philippine National Police (PNP).186 Domingo also told journalists that al-Ghaffari’s brother is a
member of the Palestinian terrorist group Hamas and that al-Ghaffari is a ”good friend” of Mohammad
Jamal Khalifah.187 Following al-Ghaffari’s arrest on immigration charges, Filipino officials announced their
suspicion that he had also served as a ”key planner” of a karaoke bar bombing in Zamboanga City that
killed a U.S. soldier and two local civilians.188 According to a financial analysis provided to me by plaintiff’s
counsel, at least one other organization in the Philippines that was identified by the Filipino military as a
suspected financial conduit to Abu Sayyaf, the Dar al-Hijra Foundation189, which received a transfer of
more than 35000 Saudi riyals in August 1998 from Sulaiman bin Abdel Aziz al-Rajhi.190

        The Taibah International Aid Association is yet another Islamic charitable organization that claims
to have provided funding to various war zones in the Muslim world, including Bosnia-Herzegovina.
According to a report from Interpol, Taibah International “transferred its money through the Al Rajhi Bank
located in Saudi Arabia” and “is suspected of money laundering or of transactions of money originating
from terrorist activities by the Bosnian authorities.” The Interpol report added, “It is of interest to note
that the Al Rajhi Bank was also mentioned in connection with the Saudi Joint Relief Committee / SJRC.”191

        In May 2004, the U.S. Treasury Department blacklisted Taibah International as a Specially
Designated Global Terrorist (SDGT) entity under Executive Order 13224192 for having ”significant ties” to
another banned Al-Qaida charity, the Global Relief Foundation (GRF). On October 23, 2003 Special Agent
Brett Gentrup of the Bureau of Immigrations and Customs Enforcement (ICE) filed an affidavit in the case
of Abdurahman Alamoudi, including the following section dealing with financial support to Al-Qaida:

        “Taibah International Aid Association is a 501(c)3 non-profit organization headquartered
        in Falls Church, VA. Established in 1991, Taibah’s IRS Form 1023, its application for
        recognition of tax exemption, lists Abdullah A. bin Laden, as a founding officer. According
        to an ICE ROI, dated July 14, 2003, detailing an interview of Soliman Biheiri, Abdullah bin
        Laden is Osama bin Laden’s nephew. I have reviewed a signature card for TIAA which
        shows that Abdullah Bin Laden was a director of and had signature authority over the
        TIAA bank account… I know that TIAA is part of an international organization which, in
        addition to its office here, has other offices in Sarajevo, Bosnia; Tirana, Albania; and
        Moscow... In addition, I know the Federal Bureau of Investigation interviewed an
        employee of Taibah’s Bosnia office in Sarajevo, named Ali Hamid el Tayeb, on December
        15, 2001. According to the report of this interview, the witness stated that he was the
        acting director of the Bosnian office and that the current Director of Taibah in the United

186
    https://www.philstar.com/headlines/2002/10/09/179094/jordanian-arrested-zambo-bombing
187
    https://www.philstar.com/headlines/2002/10/09/179094/jordanian-arrested-zambo-bombing
188
    https://www.philstar.com/headlines/2002/10/09/179094/jordanian-arrested-zambo-bombing. See also:
https://www.theintelligencer.com/news/article/Jordanian-Held-in-Philippines-Blast-10525144.php
189
    NL 15578, 15043-15046 at 15044.
190
    https://www.philstar.com/headlines/2001/09/26/134794/government-hot-sayyaf-money-trail. September 26,
2001. See also: https://gulfnews.com/uae/abu-sayyaf-leaders-admit-funding-by-bin-laden-1.425629
191
    Interpol Criminal Analysis Sub-Directorate. ”Fusion Taskforce: Financing of Terrorism and Charities.” Booklet 2:
Islamic Relief Agency/ISRA, Muwafaq, Taibah, Third World Relief. July 2003.
192
    https://www.treas.gov/press/releases/js1527.htm. May 2004.

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                                                                FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                 Document 10594-38             Filed 12/09/24        Page 32 of 55

                            SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


        States will decide who becomes the next director of Taibah in Bosnia. The witness also
        stated that Mohammed El-Nagmy was a current employee of Taibah in Bosnia and at the
        same time was also the Bosnian representative for Global Relief Foundation (‘GRF’). GRF
        was designated a SDGT pursuant to Executive Order 13224 on October 18, 2002… In
        addition, I know that the Bosnian Federation Police searched the offices of GRF on or
        about December 14, 2001. After the search another Taibah (Bosnia) employee was
        interviewed on February 21, 2002. According to the FBI Report of that interview, Mustafa
        Ait-Idir stated that Taibah represented GRF’s interests after the Bosnian government told
        it to cease operations. He also stated that another Taibah employee, Mohammad
        Ibrahim, would assist with GRF’s matters in Sarajevo. As result of that search, the FBI
        interviewed another employee of Taibah (Bosnia) named Tarik El-Mastry, on December
        15, 2001, who confirmed that he worked for Taibah at the office location in Sarajevo. The
        report of this interview states that El-Mastry had become Taibah’s accountant in 1998
        and that Mohammed El-Nagmy, a co-worker at Taibah, also worked for GRF. As Taibah’s
        accountant El-Mastry was asked about the financial transactions of Taibah, he stated that
        he only knew about small transactions and knew nothing about international transactions
        involving any other NGOS, or the movement of funds from the United States or the Middle
        East. According to the FBI Report of the interview of Mohammed El-Nagmy, on December
        15, 2001, El Nagmy, who was in Sarajevo in 1998 working for Taibah, was directed by the
        head of Taibah there to serve as a volunteer representative for GRF.”193

        A former member of the foreign mujahideen brigade in Bosnia-Herzegovina, Ali Hamad, told
international war crimes investigators that a particular faction of foreign militants active in the Balkans
“were especially supported by the High Saudi Committee, the organization called Taiba, the third
organisation was El Haramain... so even people who were working for those three organisations would
come to join us when we were going to attack to join us and carry out the attack.”194

        The Jeddah-based World Assembly for Muslim Youth (WAMY) is another example of the Islamic
dawah/charitable entities that have helped funnel support to Al-Qaida over the past three decades.
Founded in 1972, WAMY claims to be the world’s largest Muslim youth organization.195 WAMY sponsors
various “humanitarian” causes, including religious youth camps around the world—including in Western
Europe and North America.

         Like IIRO, WAMY has also significantly relied upon Al-Rajhi Bank for financial services, including
maintaining accounts for donors to send money. In the spring of 2002, WAMY’s Assistant Secretary
General Dr. Saleh al-Wohaibi announced plans for WAMY to accelerate its monthly contribution to ”the
Palestinian intifada” from 3 million Saudi riyals to 10 million Saudi riyals. Al-Wohaibi explained that
”WAMY volunteers would fan out throughout the Kingdom as part of their funds collection drive.” In
order to accommodate this expected wave of donations to support the Palestinian armed uprising against
Israel, the same article reported that “WAMY has also opened an account with the Al Rajhi Banking and

193
    “Supplemental Declaration in Support of Detention” from ICE Agent Brett Gentrup. United States v.
Abdurahman Muhammad Alamoudi. Case No. 03-1009M; U.S. District Court for the Eastern District of Virginia
(2003). Pages 13-17.
194
    Interview with Ali Hamad. August 16, 2006.
195
    http://www.wamyusa.org/about/about%20wamy.htm, as of December 10, 2002.

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                                                             FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                  Document 10594-38             Filed 12/09/24        Page 33 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


Investment Corporation. The executive [al-Wohaibi] appealed to well-wishers to pitch in with
contributions to the Palestine committee in A/C No. 666331/279.”196. In October 2004, WAMY published
an Arabic-language online newsletter via its official website carrying a message from Dr. Saleh Bin Ibrahim
Babair, the Assistant-Secretary General for Executive Affairs at WAMY. Dr. Babair announced in his
message that WAMY has ”established places and means for collecting donations during the Ramadan
season and throughout the year via its headquarters in the General Secretariat and its approved branches,
and via its bank accounts in Al Rajhi Banking Company and the National Bank.”197

         Evidence indicates that Sulaiman Abdel Aziz al-Rajhi also provided funding to WAMY, through his
charity office, and indicates that he was close to WAMY’s leadership. Plaintiffs’ counsel have provided me
with translated checks from Sulaiman al-Rajhi to Maneh al-Johani, WAMY’s Secretary General, totaling
232,500 riyals.198 In addition, Plaintiffs’ counsel has provided me with apparent translated copies of at
least two bank wire transfers totaling more than 212,000 Saudi riyals from Sheikh Sulaiman Abdel Aziz al-
Rajhi's account at Al-Rajhi Bank to Dr. Saleh Omar Badahdah, a member of the WAMY Board of Trustees.199

         According to U.S. Department of Defense documents, in the assessment of the U.S. government,
“WAMY is a Tier 1 Counterterrorism NGO target, defined as those that have demonstrated sustained and
active support for terrorist organizations willing to attack US persons or interests.”200 The DOD has
privately accused WAMY of being “affiliated” and “associated with Usama Bin Ladin and al Qaeda
operations: “According to top WAMY officials, both the United States and Israel must be destroyed.
WAMY provides financial support to the Palestinians fighting against Israel. In addition, WAMY has put
forward a proposal that the Palestinians should declare open war on Israel.”201 The Pentagon charged
further, “WAMY supports terrorist ideals and causes.”202 The Department of Defense has classified WAMY
as among the “Associated forces” of Al-Qaida, “with which al-Qaida, the al-Qaida network, or the Taliban
had or has an established working, supportive, or beneficiary relationship for the achievement of common
goals… Through associations with these groups and organizations a detainee may have provided support
to al-Qaida or the Taliban, or engaged in hostilities against U.S. or Coalition forces.”203

       The following is an excerpt from an officially sanctioned song to be performed by participants at
WAMY youth camps, as printed in an English-language WAMY training manual obtained in the United
Kingdom:




196
    Arab News. ”WAMY to raise monthly contributions to Palestinian intifada to SR 10 million.” April 12, 2002.
https://www.arabnews.com/node/219892.
197
    https://wamy.org/Final1/wamy_project_9548/wamy/News/desplay1.asp. October 3, 2004.
198
    NL 10068, 10384. See also NL 10333 (check from Sulaiman al Rajhi payable to WAMY for 75,000 riyals); NL
15578, 15043-15046 at 15046 (338,500 riyal payment to World Assembly of Muslim Youth).
199
    NL 10139, 10186. See also: http://www.arabdecision.org/show_cv_3_11_8_1_3_577725506.htm
200
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Rashed Awad Khalaf Balkhair (ISN No.
186) (June 28, 2006); U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Adel Hassan Hamed
(ISN No. 940) (March 25, 2005).
201
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Mammar Ameur (ISN No. 939) (July 25,
2005); U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Adel Hassan Hamed (ISN No. 940)
(June 28, 2005).
202
    Set_52_3643-3869, at p. 37.
203
    U.S. Department of Defense, JTF-GTMO Matrix of Threat Indicators for Enemy Combatants.

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                                                             FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                 Document 10594-38             Filed 12/09/24         Page 34 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


        “Youth of [Islam] are the guided youth. Come! Come to a final decision: The Prophet has
        called out and so has the Qur’an. So blessed is the servant who responds when he is
        called… Bring back the glory to it’s lions, And restore the zeal to its soldiers. Flatten evil
        in its cradle, And unsheath the swords… Hail! Hail! O sacrificing soldiers! To us! To us!
        So we may defend the flag. On this Day of Jihad, are you miserly with your blood?!”204

          In July 1996, WAMY held a youth camp in Okeechobee, Florida that included seminars overseen
by senior WAMY officials in the United States. As part of the program, an operations manager for WAMY
charitable activities named Suleman Ahmer presented a lecture to campers titled, “Jihad, The
Misunderstood Word.” Ahmed professed to have “spent some months in Bosnia, and I’ve spent some
time in Chechnya where we have active wars going on, and there are certain things I’ve come across
they’re very educational and also very motivational, they’ll motivate you. You’ve been hearing negative
things about jihad right, so you should hear something positive also.... If the Chechens come up and they
fight, if the Bosnians come up and they fight you call them terrorists! This is unfair... without jihad the
evil forces will overwhelm you and that’s why Allah has given you so much promises to you, to people
who do jihad, to people who struggle.”205 Ahmer described the challenge during the Bosnian war of
indoctrinating non-Arabic-speaking European Muslims in fundamentalist Islamic principles: “the Bosnians
were well away from Islam…. They couldn’t even say the word ‘jihad.’ They used to call ‘mujahedin,’
‘muhajedin.’ It took them many months to learn the right word.”206 According to Ahmer, after witnessing
the dramatic entrance of mujahideen fighters into the Bosnian conflict, local Bosnian Muslims vowed, “‘if
this is really, if this is what Islam teaches you, we are fools if we don’t practice Islam.’ See, jihad, how it
establishes Islam?”207 In response to criticisms of the violent extremist indoctrination taking place at
WAMY summer youth camps inside Saudi Arabia, WAMY Secretary General al-Wohaibi has insisted that
it is “not possible to control” all of the content being disseminated during the presentations at the
camps.208

        As suggested by Suleman Ahmer, from the early days of the Bosnian war, WAMY was “deeply
involved” in supporting Saudi jihadists seeking to take part in the conflict. A WAMY representative was
quoted in the New York Times defending the role of the dawah group: “If a relief worker decides that he
wants to join the fighting forces, we would not stop him. But he can no longer officially represent our
organization.” Nonetheless, Saudi government officials quoted anonymously in the same article
acknowledged that “men who volunteer for the relief work often end up as soldiers:” “Since August most


204
    “Islamic Camps Objectives, Program Outlines, Preparatory Steps.” World Assembly of Muslim Youth (WAMY);
Riyadh, Saudi Arabia. Prepared by the Camps & Conference Unit of the World Assembly of Muslim Youth 1987.
Translated (with additions) by Abu-Bakr M. Asmal 1990. Obtained at the WAMY Western Europe Office; 46
Goodge Street; London, UK.
205
    “Jihad, The Misunderstood Word.” Lecture given by Suleman Ahmer at the World Assembly of Muslim Youth
(WAMY) Okeechobee Summer Da`wah Camp. July 26, 1996. Videotape obtained from the Meccacentric Da`wah
Group.
206
    “Jihad, The Misunderstood Word.” Lecture given by Suleman Ahmer at the World Assembly of Muslim Youth
(WAMY) Okeechobee Summer Da`wah Camp. July 26, 1996. Videotape obtained from the Meccacentric Da`wah
Group.
207
    “Jihad, The Misunderstood Word.” Lecture given by Suleman Ahmer at the World Assembly of Muslim Youth
(WAMY) Okeechobee Summer Da`wah Camp. July 26, 1996. Videotape obtained from the Meccacentric Da`wah
Group.
208
    FED-PEC 210330-210331.

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                                                             FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                  Document 10594-38             Filed 12/09/24        Page 35 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


of the money raised for relief has been turned over to the Bosnians for weapons… And most contributors
probably support this.”209

        According to the New York Times, among the services provided by WAMY to jihadist fighters in
the Balkans, it “flies back wounded Saudi fighters and provides free medical care in the Saudi German
hospital. On the second floor of the modern medical complex in a Jidda suburb several rooms hold
wounded Saudi fighters, but bearded companions in the hallway and officials at the Islamic Organization,
while confirming that the wounded combatants were in the hospital, refused to let an American reporter
speak with them.”210

        Open support for violent jihad extended across the WAMY corporate ladder. The Muslim World
League publication Al-Alam Al-Islami published an article titled, “Wamy calls for Jihad to free Kashmir,”
covering comments by WAMY Secretary General Dr. Maneh al-Johani before a conference of Kashmiri
Muslims in the Saudi capital Riyadh. According to the account of Al-Alam Al-Islami:

         “Dr. Johani said that according to the Islamic faith, Jihad could be performed in many
        forms. Muslims can go to the battlefield to wage a war against the enemies of Islam or
        they can give their moral, physical, and financial support [to] the cause of Jihad. The
        Muslims in the Kingdom... should have a sense of responsibility to help their brethren to
        secure their freedom through Jihad, he said.... Dr. Johani pointed out that there is an
        organised effort to crush the Muslims in many parts of the world. Some of these
        destructive elements could be seen while others cannot be seen, he said. ‘Jihad is the
        only way out for us to get emancipated from these cruel hands,’ he added.”211

        Following a December 1995 meeting in Riyadh, Saudi Arabia with WAMY Secretary General Dr.
Maneh al-Johani, Kashmiri political activist Chaudhry Yaqub held a press conference in which he “lauded
the efforts of the World Assembly of Muslim Youth (WAMY) and other charitable organizations in helping
the mujahideen in their struggle for independence from India”—emphasizing “that WAMY in particular is
supporting the cause of Kashmiris through its Kashmir Committee in its Riyadh headquarters.”212

        In January 2000, WAMY chief Dr. Maneh al-Johani published an editorial in the Al-Jazeera
newspaper regarding the “Chechen Tragedy,” stressing “that these steadfast heroic Muslims, the
mujahideen, deserve our support, prayers, and all our energies to support them so that they would defeat
the enemies again. They showed great examples that will be recorded in the history’s brightest pages.
They faced the enemy of Allah and their enemy with all courage and strength. They were not appalled at
their magnitude and military equipment. They fought and inflicted great losses on the Russian ranks,
forcing the Russians to withdraw. They will force them again to withdraw in the second round as well,
Allah willing. They will defeat them again.”213 According to al-Johani:




209
    Hedges, Chris. ”Muslims From Afar Joining ‘Holy War’ in Bosnia.” New York Times. December 5, 1992.
210
    Hedges, Chris. ”Muslims From Afar Joining ‘Holy War’ in Bosnia.” New York Times. December 5, 1992.
211
    Muslim World News, “WAMY Calls for Jihad to Free Kashmir,” (June 3, 1991), at p. 15.
212
    Furqan, Ahmed. ”Kashmiri leader thanks WAMY for help.” Riyadh Daily. December 8, 1995.
213
    Juhani, Dr. Manei. ”The Chechen Tragedy – Johani.“ Al-Jazeera newspaper. No. 9970; January 15, 2000.
http://www.suhuf.net.sa/2000jaz/jan/15/fe1.htm. See also: FED-PEC 233836-233843.

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                                                              FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                 Document 10594-38            Filed 12/09/24        Page 36 of 55

                            SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


        “The question that arises is: What do the Chechen Muslims need from us today? They
        need money to buy weapons and gear.... The young children should know their cause.
        We should motivate them to donate to them and console them as much as we can. The
        Islamic awakening is growing, praise be to Allah. Perhaps this is what worries the
        Communist East and the polytheistic West. They fear that they will wake up some day to
        find the Muslims ordering them to pay the tribute.”214

        That same month (January 2000), the Minister of Islamic Affairs in the Kingdom of Saudi Arabia
Sheikh al Sheikh dispatched a letter to WAMY Secretary General Maneh al-Johani with a check for 20,000
Saudi Riyals attached “as a donation from me to the benefit of the Muslims of Chechnya. Please receive
it and notify our private office accordingly. I ask Allah the almighty to support our mujahideen brothers
and to support Islam and the Muslims.”215 Upon receipt of the letter, al-Johani wrote back to confirm
“your generous donation to the World Assembly of Muslim Youth for the benefit of the Muslims of
Chechnya.”216

        As noted above, Plaintiffs’ counsel in the present matter have provided me with copies of at least
two apparent checks or wire transfers to WAMY Secretary General Dr. Maneh al-Johani from accounts at
Al-Rajhi Bank. The first, dated June 14, 1999, is from Sheikh Sulaiman Abdel Aziz al-Rajhi and is in the
amount of 120,000 Saudi riyals with a notation referring to “Abu Ayman.” The second payment to al-
Johani, dated May 27, 1999, is likewise from Sheikh Sulaiman Abdel Aziz al-Rajhi (accompanied by the
name Abdulrahman Bin Abdullah Alrajhi) and is attached to a note reading, “Please find enclosed herewith
the check mentioned above, which is a donation from Sheikh Suleiman bin Abdul Aziz al Rajhi as a one-
year scholarship for ten students studying in Egypt, supervised by Brother Abdul Rahman al Aqil.”

         Several Guantanamo Bay detainees have made references to their work for or association with
WAMY. One of these men, Sudanese national Adel Hassan Hamad was allegedly “employed by the World
Assembly of Muslim Youth (WAMY) in Afghanistan and Pakistan for approximately one and one half years
until the time of his capture [on] 18 July 2002.”217 Hamad admitted being employed by WAMY in Pakistan
as the “manager of the Assembly hospital” and the person responsible for “distribut[ing] aid supplies to
the refugee camps in Pakistan.”218

         Prior to his employment with WAMY, Hassan worked with Specially Designated Global Terrorist
(SDGT) entity Lajnat al Da’awa al Islamiya (LDI) for several years in Peshawar, Pakistan.219 Designated on
January 9, 2003, the U.S. government asserted the following: “LDI is one of the most active Islamic NGOs
to give logistical and financial support to mujahideen operating in the Pakistan-Afghanistan area.”
“Several workers of LDI in Peshawar belonged to al Qaida, including Ramzi Yussef, who has been convicted
for his role in the 1993 bombing of the World Trade Center. Khalid Sheikh Mohammed, considered as one

214
    Juhani, Dr. Manei. ”The Chechen Tragedy – Johani.“ Al-Jazeera newspaper. No. 9970; January 15, 2000.
http://www.suhuf.net.sa/2000jaz/jan/15/fe1.htm. See also: FED-PEC 233836-233843.
215
    WAMYSA 1249305. See also FED-PEC 234243-234244 (WAMY Secretary General Dr. Maneh al-Johani discussing
the collection of monetary donations and informing that a WAMY delegation made contact with the fighters.).
216
    WAMYSA 1249304. See also FED-PEC 234930-234931 (WAMY Secretary General Dr. Maneh al-Johani explaining
that “WAMY’s office in Chechnya along with other Islamic social organizations operating in that country were
ordered to close down.”).
217
    Set_52_3643-3869, at p. 37. See also WAMYSA 1088-1091, WAMYSA 1084.
218
    Set_52_3643-3869, at pp. 38-39.
219
    FED-PEC 181049-181051.

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                                                            FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38              Filed 12/09/24        Page 37 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


of the most important operational officers for al Qaida, was head of the Peshawar branch of LDI from
1988 to 1995.”220 Hassan met with Khalid Sheikh Mohammed (KSM) while working at the same refugee
camp run by LDI. That camp, the Jelazee Refugee Camp, was overseen by KSM’s brother, Zahid Al-
Sheikh.221At the time that Hassan was employed by LDI, it was categorized as a Tier 2 NGO. “Tier 2 NGOs
have demonstrated the intent and willingness to support terrorist organizations willing to attack US
persons or interests.”222

        Hassan “was captured with Mammar Ameur,” who “was also affiliated with radical NGOs and had
traveled extensively throughout the Middle East. He was assessed as an Al-Qaida facilitator due to his
associations and employment with WAMY, who has ties to extremist organizations.”223 According to the
DOD, other Guantanamo Bay prisoners like Hamad who were working under the auspices of WAMY were
“likely using [their] employment in Non-Government Organizations (NGOs) to facilitate funds and
personnel for Al-Qaida and its global terrorist network.”224

         There are numerous other connections linking WAMY to international terrorist organizations and
terrorist financing. In fact, the U.S. branch of WAMY was incorporated in 1992 by Usama Bin Laden’s own
nephew Abdullah in Falls Church, Virginia.225 During his tenure at WAMY, Abdullah Bin Laden, who was
seconded to WAMY after being appointed to his position by the Ministry of Islamic Affairs, was responsible
for making key personnel decisions and “represented the organization at various sponsored events.”226
Minutes from the eighth meeting of WAMY’s General Secretariat in 1998 identify Abdullah Bin Laden as a
WAMY “Board Member and the Assembly’s Representative in North America.”227 In other WAMY
documents, the younger Bin Laden is identified as the “President” of WAMY’s U.S. branch and it appears
he has signatory authority over the branch’s local bank accounts.228 According to Bin Laden’s successor
in Falls Church, “WAMY USA did not undertake any fundraising activities; all funding came from WAMY
Saudi Arabia.”229

         WAMY’s operations in eastern Europe were deeply intertwined with those of the Vienna, Austria-
based Third World Relief Agency (TWRA). As previously cited in this report, TWRA was a thinly-veiled
charity cover for arms smuggling, money laundering, and terrorist financing. The 9/11 Commission Final
Report concluded that Usama Bin Laden had used TWRA to “covertly provide financial and other support
for terrorist activities.”230 The founder of TWRA—a Sudanese National Islamic Front (NIF) official named


220
    https://www.treasury.gov/resource-center/terrorist-illicit-finance/Pages/protecting-
charities_execorder_13224-i.aspx#ldi.
221
    FED-PEC 141770-141786.
222
    FED-PEC 197472-197479. See also IIRO 278956-278957, IIRO 278983-278984, IIRO 278986, IIRO 278990-
278991, IIRO 279010 (IIRO took over the operations of three hospitals in Afghanistan from LDI at a time when the
U.S. government considered LDI “more dangerous” and a significant “threat.”).
223
    FED-PEC 197472-197479.
224
    U.S. Department of Defense, JTF-GTMO Detainee Assessment, Detainee Mammar Ameur (ISN No. 939) (April
13, 2005).
225
    United States Internal Revenue Service (IRS) Form 1023 Application by WAMY for Recognition of Exemption,
filed November 9, 1992.
226
    Affidavit of Abdullah Awad Bin Laden (November 19, 2005).
227
    WAMYSA 51692-51698.
228
    WAMY INTL 13864, WAMY INTL 1366-1370.
229
    Declaration of Ibrahim Sulayman Abdullah (March 29, 2019).
230
    9/11 Commission Final Report, at p. 58.

                                                       36

                                                               FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                    Document 10594-38               Filed 12/09/24          Page 38 of 55

                              SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


El Fatih Hassanein—also simultaneously served as the “Director of the Office of WAMY office [sic] in
Austria and Eastern Europe.”231 Likewise, WAMY shared the same office space as TWRA in Vienna,
Austria.232 Other documents from 1993 produced during discovery in connection with the present
litigation confirmed that WAMY’s headquarters in Jeddah exercised supervision and control over its
various branch offices—including its “Eastern Europe Office” in Austria.233 WAMY also made significant
financial donations or transfers to TWRA, with a German criminal investigation of TWRA identifying at
least approximately US$37,000 in transfers.234

        The investigation of TWRA’s operations in Vienna also turned up at least 5 bank wires totaling
almost $210,000 in which either “Sulaiman Al-Rajhi" or “Saleh Alabdulaziz Alrajhi and Brothers” are
specified as the sender. At least three other bank wire entries totaling $331,224.77 “based on the sender
or the posting text refer to the Al Rajhi Banking & Investment Corp., P.O. Box 28, Riyadh 11411, Saudi
Arabia.”235

        In November 2001, the Indian government shuttered WAMY’s offices in that country for allegedly
financing banned terrorist groups, including Lashkar-e-Taiba (LET) and Jaish-e-Mohammed (JEM).236 A
year later, in November 2002, international media reported that WAMY’s Peshawar office was raided in
a joint FBI-Pakistani intelligence operation.237 A WAMY employee was subsequently questioned for
allegedly hand delivering a recorded message from Usama Bin Laden to local media.238 In that tape, bin
Laden praised various terrorist attacks—including the Bali nightclub bombing that killed over 200 people
and the Chechen takeover of a theatre in Moscow that led to over 150 deaths.

       In June 2004, federal agents from the Federal Bureau of Investigation (FBI), the Bureau of
Immigration and Customs Enforcement (ICE), and the Joint Terrorism Task Force (JTTF) raided Abdullah
Bin Laden’s WAMY office in Virginia, allegedly “in connection with a terrorism-related investigation.”
Agents seized all of the files and computer hard drives in WAMY’s offices. Additionally, a WAMY board
member was arrested on immigration charges.239

        Since the September 11 terrorist attacks on the United States, WAMY has continued to fund
numerous “charitable” projects—including in neighboring Iraq, where donations in 2004 alone totaled
over $200,000. In late 2002, an Internet website affiliated with the Ansar al-Islam terrorist organization
in northern Iraq released a photo showing Ali Bapir—a detained Ansar al-Islam commander—at a public
event sponsored by WAMY and featuring banners emblazoned with the WAMY logo.240 In February 2003,




231
    WAMY document indices (produced March 23, 2012).
232
    FED-PEC 289619, 218206.
233
    WAMYSA 1665-1666.
234
    PEC-KSA 3656-3718, WAMYSA 42103.
235
    Austrian Federal Office of Criminal Investigation. ”Expert report concerning the area of financial investigations
relating to the judicial assistance request, ref. no. INV/10289/T09-PH (245), dated 8/27/2002 relating to the “Third
World Relief Agency.” ST 45-2 - 185/02. August 28, 2003.
236
    FED-PEC 234023-234024.
237
    Pakistan Questions Sudan Man About Tape.” Associated Press. December 9, 2002.
238
    “Pakistan Questions Sudan Man About Tape.” Associated Press. December 9, 2002.
239
    Markon, Jerry. “U.S. Raids N.Va. Office Of Saudi-Based Charity.” Washington Post. June 2, 2004.
240
    http://www.ayobi.com/photo/isl_17.jpg. August 2002.

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                                                                 FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                 Document 10594-38             Filed 12/09/24      Page 39 of 55

                            SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


the U.S. Treasury Department announced the designation of Ansar al-Islam “as a terrorist group with links
to Al-Qaida… and support from al-Qaida:”

         “Al-Qaida and Usama bin Laden participated in the formation and funding of Ansar al-
        Islam, and AI has provided safe haven to al-Qaida in northeastern Iraq. AI’s predecessor,
        Jund al-Islam, was formed in September 2001. AI came into being with the blessing of bin
        Laden after its leaders visited al-Qaida in Afghanistan in 2000 and 2001. Bin Laden
        provided AI with an estimated $300,000 to $600,000 in seed money. AI has acknowledged
        that it contracted Islamic figures abroad before declaring jihad in northeastern Iraq.
        Ansar al-Islam has received training and logistical assistance from al-Qaida. Groups of AI’s
        Kurdish members have traveled to Afghanistan to train with al-Qaida, while AI’s foreign
        members are believed to be al-Qaida-trained veterans of conflicts in Afghanistan and
        Chechnya. Ansar al-Islam has a close association with senior al-Qaida operative Abu
        Musab al-Zarqawi, a poisons and chemical weapons expert whose network has
        established a poison and explosives training camp in the area of northeastern Iraq that is
        controlled by Ansar al-Islam. Zarqawi’s lieutenants help run this camp, which teaches
        operatives how to produce ricin and other poisons.”241

        The Israeli government has also accused WAMY of funding Hamas and the Palestinian Islamic
Jihad—and at least one subsidiary charity with WAMY officers at the helm has been blacklisted as a
Specially Designated Global Terrorist entity for its ties to Hamas. In November 2008, the U.S. Treasury
Department designated the “Union of Good,” a charitable front group that was allegedly created by
Hamas in late 2000 “in order to facilitate the transfer of funds to Hamas. The Union of Good acts as a
broker for Hamas by facilitating financial transfers between a web of charitable organizations.” According
to the U.S. Treasury, “the primary purpose of this activity is to strengthen Hamas’ political and military
position in the West Bank and Gaza, including by: (i) diverting charitable donations to support Hamas
members and the families of terrorist operatives; and (ii) dispensing social welfare and other charitable
services on behalf of Hamas.”242

        In August 2002, WAMY Secretary General Saleh al-Wohaibi sent a letter to the Union of Good CEO
expressing his gratitude for an invitation “to join the membership of the Board of Trustees of the Union
of Good as a successor of our dear late Dr. Mane bin Hammad Al-Juhani… I have the pleasure to accept
your kind invitation to join the membership.”243 Documents produced during discovery in connection to
the present litigation show that WAMY Assistant Secretary General Abdulwahab Noorwali is also a
member of the Board of Trustees of the Union of Good. In November 2002, the Union of Good CEO sent
Noorwali a letter to thank him for WAMY’s role in the success of a Ramadan fundraising project.244

         Interviewed in Saudi media in the years following the September 11, 2001 terrorist attacks on the
United States, WAMY Secretary General Saleh al-Wohaibi has defended Saudi religious charities as “the
finest civil society organizations to adorn any modern society” and insists that any “mistakes” made by
groups like WAMY solely “accrue to their managers” and not to the organizations themselves:


241
    https://www.treasury.gov/press-center/press-releases/Pages/js48.aspx.
242
    https://www.treasury.gov/press-center/press-releases/Pages/hp1267.aspx.
243
    WAMYSA 1235606.
244
    WAMYSA 1235604.

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                                                            FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                  Document 10594-38              Filed 12/09/24        Page 40 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


         “This charity work has a record that is not without flaws or gaps that are now held against
        it in light of the Western attack, including the accusation that it supports terrorist acts.
        There is no doubt that charity work has sometimes been undertaken by people who lack
        enough experience to handle and consider international matters. Support for the Afghan
        Jihad, which was once considered a bonus has now become a drawback!!”245

       In Al-Hayat Newspaper, WAMY Secretary General Saleh al-Wohaibi has attempted to broad-brush
characterize U.S. government punitive actions targeting terrorist financing as part of a “widespread
Western attack on Islamic charitable institutions, branding them as terrorists and randomly accusing them
based on false grounds.” According to al-Wohaibi:

         “[T]here are political objectives that are more dangerous than those feelings that are
        being planned by Zionists and the neo-conservatives in the US. They want to destabilize
        the Muslim world and sow tension between it and other nations. Therefore, they attack
        Muslim countries and their charitable institutions, first and foremost of which is the
        Kingdom of Saudi Arabia and its charitable institutions whose benefit has encompassed
        all parts of the world.”246

        Nonetheless, senior WAMY officers continue to defend and promote the concept of violent jihad,
even after the 9/11 terrorist attacks. In November 2001, WAMY Assistant Secretary General Abdulwahab
Noorwali was quoted in the Saudi Gazette as questioning the definition of “terrorism:” “People should
differentiate between ‘self-defense,’ which is the other correct word for ‘Jihad,’ and ‘terrorism.’
Palestinians defending their home and families against the Israeli occupier are not terrorists. There are
some extreme attitudes toward Islam in the world that are presented by western media to give a wrong
conception of Islamic Jihad.”247

        Aside from the financial support provided by the Al-Rajhi family to Islamic extremists, there is
evidence of other forms of support as well. Shaykh Abdullah al-Faisal is a Jamaican convert to Islam and
graduate of Imam Bin Mohammed bin Saud in Saudi Arabia, where he lived for eight years. In the early
1990s, according to British court documents, “having been to university in Riyadh, Saudi Arabia, he was
sent to the United Kingdom to preach by Sheikh Rajhi.”248. In February 2003, Abdullah al-Faisal was
convicted in a U.K. court on charges of “soliciting to murder,” defined as “encouraging, persuading,
endeavoring to persuade or proposing to any person to murder any other person.” The charges stemmed
from lectures given by the militant cleric in which he openly called upon his followers to kill Americans,
Jews, Hindus, and other perceived “enemies of Islam.”249 As a result of his conviction, al-Faisal was
removed from the United Kingdom and was returned to his native homeland of Jamaica. In January 2023,
Faisal was convicted on additional criminal charges in the New York State Supreme Court of soliciting or




245
    FED-PEC 234792-234795.
246
    WAMYSA 6034-6039.
247
    FED-PEC 235725-235730.
248
    Judgement. Supreme Court of Judicature, Court of Appeal (Criminal Division). Citation [2004] EWCA Crim 456.
Case No: 2003-01860-CZ. Royal Courts of Justice, London. March 4, 2004. Regina v. El-Faisal.
249
    “Muslim cleric guilty of soliciting murder.” The Guardian (London). February 24, 2003.

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                                                              FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                   Document 10594-38              Filed 12/09/24        Page 41 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


providing support for an act of terrorism—including recruiting U.S. nationals in the greater New York
metropolitan area to join the terrorist organization ISIS.250

         One of the more notorious recordings attributed to Shaykh Faisal is titled, “Jihad: Aims and
Objectives.” The tape features Shaykh Faisal lecturing to his audience that “jihad is here to make people
come into the fold of Islam in multitudes… because who wants to take sides with weak, who wants to be
with the losers? But when you have dignity, the power, you the Muslims will rule the country. You will
call the shots. People will do what you say. The power is in your hands. Then people will rush into Islam
in multitudes. So you are giving dawa [missionary work] here in the UK, and people are coming, but they
are coming in slowly but surely. If you should conquer, you will see thousands, millions will take shahada
in one day. One million will take shahada in one day! This is, this is Islamic history. So we shouldn't be
doing dawa. We should be doing jihad. Ideally, we should be doing jihad, we shouldn't be doing dawa.”
Faisal then continued to explain that “another aim and objective of jihad is to drive terror in the hearts of
the [infidels]… to terrorize them. Did you know that we were commanded in the Qur`an with terrorism?
…another aim and objective of jihad is to kill the [infidels]… Allah [said], it is not right for a Prophet to have
captives until he makes the Earth warm with blood… So when we wage jihad, no captives, we don’t take
captives. We don’t have money to feed them. It is a waste of money. And we can’t be bothered to
transport them, they are an extra burden. No captives, we just kill them and wash our hands from the
problem.” On the same tape, Faisal suggested that oppressed Muslims join the jihad by committing bank
robberies, specifically in Switzerland, and “so, if you are suffering from poverty, wage jihad and you will
see the wealth coming in your hands.”251

         Another disciple of the Al-Rajhi family foundation was Saudi national Turki al-Assiri, who worked
at an Al-Rajhi family orphanage and dawah charity while studying at Imam Bin Mohammed bin Saud
University in Riyadh.252 In 2001, al-Assiri suddenly traveled from his home in Saudi Arabia to Afghanistan
in order to join Al-Qaida and the Taliban. One of the men who joined al-Assiri on his pilgrimage for jihad
to Afghanistan was a Jordanian national known as “Abu Bakr al-Jazairi”—an alleged “fundraiser for
widows and orphans of al Qaida members” and, later, the personal representative of Usama Bin Laden in
the city of Jalalabad.253 Al-Assiri was captured by coalition forces in 2001 and was held as detainee No.
185 in Guantanamo Bay, Cuba.254 Less than 18 months after his release to the custody of Saudi authorities

250
    https://manhattanda.org/d-a-bragg-announces-all-count-trial-conviction-of-radical-cleric-shaikh-faisal-for-
recruiting-supporters-and-facilitating-efforts-to-join-isis/.
251
    Faisal, Shaykh Abdullah. “Jihad: Its Aims and Objectives.” Audiocassette obtained from Al-Quds Audiovisions.
http://www.islamicjihad.com. July 2001.
252
    “Unclassified Summary of Evidence for Administrative Review Board in the Case of Turki Mashawi Zayid al
Asiri.” Administrative Review Board (ARB) Round 1. U.S. Department of Defense; Office for the Administrative
Review of the Detention of Enemy Combatants at US Naval Base Guantanamo Bay, Cuba. September 9, 2005.
Pages 212-215.. See also; “Unclassified Summary of Evidence for Administrative Review Board in the Case of Al-
Amri, Turki Mishawi Zaid.” Administrative Review Board (ARB) Round 2. U.S. Department of Defense. May 9, 2006.
Pages 267-271.
253
    “Unclassified Summary of Evidence for Administrative Review Board in the Case of Turki Mashawi Zayid al
Asiri.” Administrative Review Board (ARB) Round 1. U.S. Department of Defense; Office for the Administrative
Review of the Detention of Enemy Combatants at US Naval Base Guantanamo Bay, Cuba. September 9, 2005.
Pages 212-215.
254
    “Unclassified Summary of Evidence for Administrative Review Board in the Case of Turki Mashawi Zayid al
Asiri.” Administrative Review Board (ARB) Round 1. U.S. Department of Defense; Office for the Administrative
Review of the Detention of Enemy Combatants at US Naval Base Guantanamo Bay, Cuba. September 9, 2005.

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                                                               FBI PROTECTED MATERIAL REDACTED
Case 1:03-md-01570-GBD-SN                 Document 10594-38             Filed 12/09/24        Page 42 of 55

                             SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


in late 2007, the Saudi Interior Ministry published a roster of 85 “most wanted” at large individuals sought
for their connection with Al-Qaida—including Turki al-Assiri.255 Before his death in 2014 during a raid by
Yemeni security forces, al-Assiri ascended to the role of local commander for Al-Qaida in the Arabian
Peninsula (AQAP) personnel in Yemen’s Lahj Province.256

        Consistent with the material presented above, there is a multitude of evidence that Sulaiman al-
Rajhi, Al-Rajhi Bank, the Sulaiman Abdel Aziz al-Rajhi Charitable Foundation, and the broader Al-Rajhi
family have provided charitable donations and substantial support to designated Al-Qaida financial front
groups, as well as individual violent extremists. It is also clear that Al-Rajhi Bank provided key, high value
financial services to the 9/11 hijackers, their associates, and the most important Al-Qaida charities,
including entities like Al-Haramain, IIRO/MWL, Al-Taibah, WAMY, TWRA, and beyond. Given the long,
close relationship between Sulaiman al-Rajhi and his family with the leaders of the charities, the Saudi
conservative clergy, and others within the Saudi power hierarchy, it strains credulity that the Al-Rajhi
family and Al-Rajhi Bank could have unintentionally provided so much support over a period of a decade
or more to a long list of Al-Qaida sympathizers without having any clue as to their real goals—or that they
would be utterly clueless as to their intent to provide support to international terrorism. Nor does it help
their case that it appears the Al-Rajhi family has attempted on occasion to actively hide its financial
donations to controversial causes from the public view.




                                           Evan F Kohlmann
                                           October 4, 2023




Pages 212-215. See also; “Unclassified Summary of Evidence for Administrative Review Board in the Case of Al-
Amri, Turki Mishawi Zaid.” Administrative Review Board (ARB) Round 2. U.S. Department of Defense. May 9, 2006.
Pages 267-271.
255
    “Ministry News > News Archive > New Wanted List.” The Ministry of Interior of the Kingdom of Saudi Arabia.
http://www.moi.gov.sa. February 2009.
256
    https://twitter.com/AKBAANSA/status/531817506126958592.

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                                                             FBI PROTECTED MATERIAL REDACTED
           Case 1:03-md-01570-GBD-SN                       Document 10594-38                 Filed 12/09/24           Page 43 of 55



                                                  Evan Francois Kohlmann
                                    evan.kohlmann@gmail.com – http://www.twitter.com/IntelTweet

EDUCATION
University of Pennsylvania Law School, Philadelphia, Pennsylvania
       J.D. (Juris Doctor) 2004; James Wilson Scholarship Recipient.
Georgetown University, Washington, DC
       Edmund A. Walsh School of Foreign Service, BSFS 2001, Magna Cum Laude
   •   Major: International Politics, concentration in International Security Studies.
               o Minor: Islamic Studies (Center for Muslim Christian Understanding, Georgetown University)
   •   Honors & Awards: Honors in International Politics; Georgetown University Rhodes Scholar Nominee, 2000.
   •   Research assistant for Dr. Mamoun Fandy in the Center for Contemporary Arab Studies (CCAS) (Fall 2000).
EXPERIENCE
Founder, Chief Executive Officer                                                                                 June 2022 – present
Cloudburst Technologies, New York, NY
   •   Cloudburst Technologies is a technology startup aimed at detecting and thwarting digital currency scams and fraud through the gathering
       and processing of off-chain data. Cloudburst can automatically detect fraud schemes as they happen and identify the players involved.


Co-Founder, Chief Innovation Officer                                                                             January 2004 – June 2022
Flashpoint, New York, NY
   •   Flashpoint was first established in early 2010 as the next chapter of the former website Globalterroralert.com (which itself was founded in
       early 2004). Flashpoint gathers the most salient open source intelligence feeds and providing meaningful, timely, relevant, and actionable
       insights through a fusion of technology and subject matter expertise.
   •   Researched terrorist media, fundraising, and recruitment networks. Interviewed alleged terrorist recruiters, terrorist facilitators, and
       cooperating defendants in criminal cases. Developed automated data mining solutions and analytical software packages in
       Python/PHP/MySQL. Conducted statistical and trend analysis from large quantities of unstructured data. Drafted public news articles and
       unclassified memoranda examining international terrorism, its sponsors, and its causes. Worked as a liaison to government agencies and
       NGOs.

On-Air Terrorism Analyst                                                                                         October 2004 – March 2022
NBC News / MSNBC, New York, NY
   •   Provided frequent on-air analysis and discussion regarding ongoing news stories relating to international terrorism. Assisted in the
       production of both evening news segments and full-length television documentaries relating to international terrorism.

Consultant                                                                                                       August 2005 – January 2010
The Nine/Eleven Finding Answers (NEFA) Foundation, New York, NY
   •   The NEFA Foundation is a non-profit organization created after the attacks of September 11, 2001. The Foundation strives to help prevent
       future tragedies in the U.S. and abroad by independently tracking those responsible for planning, funding, and executing terrorist activities,
       with a particular emphasis on Islamic militant organizations.

Consultant                                                                                                       May 2005 – June 2005
Office of the High Representative (OHR), Sarajevo, Bosnia-Herzegovina
   •   The OHR is the chief civilian peace implementation agency in Bosnia-Herzegovina. I was hired as a short-term consultant by OHR to travel
       to Sarajevo and give briefings to intelligence analysts on the status of foreign mujahideen veterans in the Balkans and the ongoing role of
       foreign charitable organizations. Assisted in the analysis of confidential intelligence documents,.

Senior Terrorism Consultant                                                                            February 1998 – December 2003
Investigative Project, Washington, DC
   •   The Investigative Project is an open source counterterrorism think-tank and policy group founded in 1995.
   •   Researched terrorist fundraising and recruitment networks using sources including Lexis-Nexis, the World Wide Web, FOIA requests,
       Foreign Broadcast Information Service (FBIS), etc. Interviewed alleged terrorist recruiters and terrorist facilitators for Al-Qaida, Hamas,
       and other groups (including notorious UK-based clerics Abu Hamza Al-Masri and Shaykh Omar Bakri Mohammed).



                                                                                FBI PROTECTED MATERIAL REDACTED
 Case 1:03-md-01570-GBD-SN                    Document 10594-38       Filed 12/09/24       Page 44 of 55
INVOLVEMENT IN U.S. CRIMINAL AND MILITARY CASES:           HIRED AS EXPERT   TESTIFIED AS FACT   TESTIFIED AS
                                                             CONSULTANT          WITNESS           EXPERT
U.S. V. JEFFREY BATTLE ET AL.
(DISTRICT OF OREGON, 2003)                                        X
U.S. V. MASOUD KHAN ET AL.
(EASTERN DISTRICT OF VIRGINIA, 2004)                              X                 X
U.S. V. RANDALL ROYER
(EASTERN DISTRICT OF VIRGINIA, 2004)                              X
U.S. V. SABRI BENKHALA
(EASTERN DISTRICT OF VIRGINIA, 2004)
                                                                  X                                   X
U.S. V. ALI TIMIMI
(EASTERN DISTRICT OF VIRGINIA, 2005)
                                                                  X                                   X
U.S. V. UZAIR PARACHA
(SOUTHERN DISTRICT OF NEW YORK, 2005)                             X                                   X
U.S. V. AHMED OMAR ABU ALI
(EASTERN DISTRICT OF VIRGINIA, 2005)
                                                                  X
U.S. V. HAMID HAYAT
(EASTERN DISTRICT OF CALIFORNIA, 2006)                            X
U.S. V. ALI ASAD CHANDIA
(EASTERN DISTRICT OF VIRGINIA, 2006)
                                                                  X                                   X
U.S. V. YASSIN AREF ET AL.
(NORTHERN DISTRICT OF NEW YORK, 2006)
                                                                  X                                   X
U.S. V. SABRI BENKHALA
(EASTERN DISTRICT OF VIRGINIA, 2007)
                                                                  X                                   X
U.S. V. RAFIQ SABIR
(SOUTHERN DISTRICT OF NEW YORK, 2007)
                                                                  X                                   X
U.S. V. JOSE PADILLA ET AL.
(SOUTHERN DISTRICT OF FLORIDA, 2007)                              X
U.S. V. NURADIN ABDI
(SOUTHERN DISTRICT OF OHIO, 2007)                                 X
U.S. V. EMADEDDINE MUNTASSER ET AL.
(DISTRICT OF MASSACHUSETTS, 2007)                                 X                                   X
U.S. V. HASSAN ABU JIHAAD
(DISTRICT OF CONNECTICUT, 2008)
                                                                  X                                   X
U.S. V. MOHAMMED AMAWI ET AL.
(NORTHERN DISTRICT OF OHIO, 2008)
                                                                  X                                   X
U.S. V. CHRISTOPHER PAUL
(SOUTHERN DISTRICT OF OHIO, 2008)                                 X
U.S. V. SALIM HAMDAN
(GUANTANAMO BAY MILITARY COMMISSIONS, 2008)                       X                                   X
U.S. V. ALI HAMZA AL-BAHLUL
(GUANTANAMO BAY MILITARY COMMISSIONS, 2008)                       X                                   X
U.S. V. MOHAMED SHNEWER ET AL.
(DISTRICT OF NEW JERSEY, 2008)
                                                                  X                                   X
U.S. V. ZUBAIR AHMED ET AL.
(NORTHERN DISTRICT OF OHIO, 2009)
                                                                  X
U.S. V. WESAM DELAEMA
(DISTRICT OF COLUMBIA, 2009)                                      X
U.S. V. OUSSAMA KASSIR
(SOUTHERN DISTRICT OF NEW YORK, 2009)                             X                                   X
U.S. V. MOHAMMED ABDULLAH WARSAME
(DISTRICT OF MINNESOTA, 2009)
                                                                  X
U.S. V. SYED HARIS AHMED
(NORTHERN DISTRICT OF GEORGIA, 2009)
                                                                  X                                   X
U.S. V. EHSANUL SADEQUEE
(NORTHERN DISTRICT OF GEORGIA, 2009)
                                                                  X                                   X
U.S. V. ABDUL TAWALA IBN AL-ISHTARI
(SOUTHERN DISTRICT OF NEW YORK, 2009)                             X
U.S. V. SYED HASHMI
(SOUTHERN DISTRICT OF NEW YORK, 2009)
                                                                  X
U.S. V. AL-HARAMAIN FOUNDATION ET AL.
(DISTRICT OF OREGON, 2010)                                        X                                   X
U.S. V. OMAR KHADR
(GUANTANAMO BAY MILITARY COMMISSIONS, 2010)
                                                                  X
U.S. V. BETIM KAZIU
(EASTERN DISTRICT OF NEW YORK, 2011)
                                                                  X                                   X
U.S. V. OMER ABDI MOHAMMED
(DISTRICT OF MINNESOTA, 2011)                                     X
U.S. V. AMINA ALI
(DISTRICT OF MINNESOTA, 2011)
                                                                  X
U.S. V. DANIEL PATRICK BOYD ET AL.
(EASTERN DISTRICT OF NORTH CAROLINA, 2011)                        X                                   X
U.S. V. BARRY WALTER BUJOL
(SOUTHERN DISTRICT OF TEXAS, 2011)
                                                                  X                                   X
U.S. V. TAREK MEHANNA
(DISTRICT OF MASSACHUSETTS, 2011)
                                                                  X                                   X
U.S. V. PATRICK NAYYAR
(SOUTHERN DISTRICT OF NEW YORK, 2012)                             X                                   X
                                                          FBI PROTECTED MATERIAL REDACTED
  Case 1:03-md-01570-GBD-SN                      Document 10594-38             Filed 12/09/24        Page 45 of 55
U.S. V. OUMAR ISSA ET AL.
(SOUTHERN DISTRICT OF NEW YORK, 2012)
                                                                           X
U.S. V. ADIS MEDUNJANIN
(EASTERN DISTRICT OF NEW YORK, 2012)                                       X                                    X
U.S. V. ANES SUBASIC
(EASTERN DISTRICT OF NORTH CAROLINA, 2012)
                                                                           X                                    X
U.S. V. KHALID ALDAWSARI
(NORTHERN DISTRICT OF TEXAS, 2012)
                                                                           X
U.S. V. MOHAMMED NISAR KHAN
(WESTERN DISTRICT OF TEXAS, 2012)                                          X                                    X
U.S. V. MOHAMED MOHAMUD
(DISTRICT OF OREGON, 2013)
                                                                           X                                    X
U.S. V. ABDEL HAMEED SHAHADEH
(EASTERN DISTRICT OF NEW YORK, 2013)
                                                                           X                                    X
U.S. V. SULAIMAN ABUGHAITH
(SOUTHERN DISTRICT OF NEW YORK, 2014)                                      X                                    X
U.S. V. MUSTAFA KAMEL
(SOUTHERN DISTRICT OF NEW YORK, 2014)
                                                                           X                                    X
U.S. V. SAMI OSMAKAC
(MIDDLE DISTRICT OF FLORIDA, 2014)
                                                                           X                                    X
U.S. V. SOHEIL KABIR ET AL.
(CENTRAL DISTRICT OF CALIFORNIA, 2014)
                                                                           X                                    X
U.S. V. ABID NASEER
(EASTERN DISTRICT OF NEW YORK, 2015)
                                                                           X                                    X
U.S. V. DZOKHAR TSARNAEV
(DISTRICT OF MASSACHUSETTS, 2015)
                                                                           X
U.S. V. FAZLIDDIN KURBANOV
(DISTRICT OF IDAHO, 2015)
                                                                           X                                    X
U.S. V. ADAM DANDACH
(CENTRAL DISTRICT OF CALIFORNIA, 2015)                                     X
U.S. V. ABDEL MALIK ABDUL KAREEM
(DISTRICT OF ARIZONA, 2016)
                                                                           X                                    X
U.S. V. AHMED MOHAMMED EL GAMMAL
(DISTRICT OF ARIZONA, 2016)
                                                                           X
U.S. V. IBRAHIM SULIEMAN ADNAN HARUN
(EASTERN DISTRICT OF NEW YORK, 2017)                                       X                                    X
U.S. V. MUHANNAD AL-FAREKH
(EASTERN DISTRICT OF NEW YORK, 2017)                                       X                  X
U.S. V. ABU AL-HADI AL-IRAQI
(GUANTANAMO BAY MILITARY COMMISSIONS, 2017)                                X
STATE OF NEW YORK V. TREVOR WILLIAM FORREST                                X                                    X
(STATE SUPREME COURT OF NEW YORK, 2022)



INVOLVEMENT IN INTERNATIONAL LEGAL CASES:                            HIRED AS EXPERT   TESTIFIED AS FACT   TESTIFIED AS
                                                                       CONSULTANT          WITNESS           EXPERT
INTERNATIONAL PROSECUTORS V. ABDULADHIM MAKTOUF
(SUPREME COURT OF BOSNIA-HERZEGOVINA, 2005)                                X                                    X
REGINA V. MOHAMMED AJMAL KHAN AND PALVINDER SINGH
(SNARESBROOK CROWN COURT, U.K., 2006)                                      X                                    X
REGINA V. AL BASHIR MOHAMMED AL-FAQIH
(WOOLWICH CROWN COURT, U.K., 2007)
                                                                           X
REGINA V. TSOULI, DAOUR, AND MUGHAL
(WOOLWICH CROWN COURT, U.K., 2007)
                                                                           X                  X
REGINA V. RAJA, MALIK, IQBAL, ZAFAR, AND BUTT
(OLD BAILEY, U.K., 2007)                                                   X
H.M.A. V. MOHAMMED ATIF SIDDIQUE
(GLASGOW HIGH COURT, SCOTLAND, 2007)
                                                                           X                                    X
REGINA V. SAMINA MALIK
(OLD BAILEY, U.K., 2007)
                                                                           X                                    X
REGINA V. HASSAN MUTEGOMBWA
(OLD BAILEY, U.K., 2007)                                                   X                                    X
REGINA V. DITTA AND BILAL
(LEEDS CROWN COURT, U.K., 2008)                                            X
PROSECUTOR FOR SERIOUS ECONOMIC CRIMES V. AL-AQSA ASSOCIATION
(THE HIGH COURT, COPENHAGEN, DENMARK, 2007)                                X                                    X
REGINA V. BILAL KHAZAAL
(SUPREME COURT OF NEW SOUTH WALES, AUSTRALIA, 2008)
                                                                           X                                    X
REGINA V. AABID KHAN ET AL.
(BLACKFRIARS CROWN COURT, U.K., 2008)                                      X
REGINA V. IMAD SHOUBAKI ET AL.
(SOUTHWARK CROWN COURT, U.K., 2008)                                        X                                    X
PUBLIC PROSECUTOR V. HAMMAD KHURSHID ET AL.
(COURT OF GLOSTRUP, COPENHAGEN, DENMARK, 2008)
                                                                           X                                    X
INTERNATIONAL PROSECUTORS V. RASIM DELIC
(INTERNATIONAL CRIMINAL TRIBUNAL FOR THE FORMER YUGOSLAVIA, 2008)
                                                                           X
                                                                    FBI PROTECTED MATERIAL REDACTED
          Case 1:03-md-01570-GBD-SN                           Document 10594-38              Filed 12/09/24           Page 46 of 55
REGINA V. ABDUL NACER BENBRIKA ET AL.
(SUPREME COURT OF VICTORIA, AUSTRALIA, 2009)
                                                                                       X
PUBLIC PROSECUTOR V. HAMMAD KHURSHID ET AL. (RETRIAL)
(COURT OF GLOSTRUP, COPENHAGEN, DENMARK, 2009)                                         X                                   X
PUBLIC PROSECUTOR V. RIJAD RUSTEMPASIC ET AL.
(SUPREME COURT OF BOSNIA-HERZEGOVINA, 2010)
                                                                                       X                                   X
PUBLIC PROSECUTOR V. NUSRET IMAMOVIC ET AL.
(SUPREME COURT OF BOSNIA-HERZEGOVINA, 2013)                                            X
FEDERAL PROSECUTOR V. MOHAMMED OSAMAH ABED MOHAMMED ET AL.
(FEDERAL CRIMINAL COURT OF BERN, SWITZERLAND, 2014)                                    X                                   X


RESEARCH GRANTS

  •   The Kanishka Project (February 2013-February 2015)
              o In February 2013, Flashpoint Partners and several associated scholars were notified by the Government of Canada that our
                  team was selected as part recipients of a 5-year $10M initiative to invest in research on pressing social dilemmas for
                     Canada on terrorism and counter-terrorism, such as preventing and countering violent extremism. Flashpoint
                     specifically was chosen to receive two years of funding in order to study terrorist communications online.

BOOKS AND PAPERS

  •   Author - Al-Qaida’s Jihad in Europe: The Afghan-Bosnian Network, (Berg Publishers, September 2004)
               o [Dr. Marko Hoare, History Faculty, University of Cambridge and author of How Bosnia Armed]: “Written by a genuine
                   expert in the subject...this is a lucid and informed account of the involvement of the mujahedin in Bosnia, one that lays the
                   myths to rest... This excellent book is essential reading for anyone wishing to understand the truth about an episode of the
                   Bosnian war that is so frequently misrepresented by those with a political motive for doing so.”1
               o [Political Science Quarterly (PSQ)]: “About [Al-Qaida’s] operations in Europe, Evan F. Kohlmann has written an
                   illuminating book… Kohlmann is at his best in exhaustively reporting the details of such terrorist episodes. He has compiled
                   prodigious research about the perpetrators and their support networks. Moreover, he never loses sight of the strategy behind
                   the individual attacks… [a] genuine historical analysis.”2
               o [Studies in Conflict and Terrorism]: “This book is a pathbreaking piece of research… Kohlmann addresses the issue in
                   unprecedented detail, exploiting a wide variety of available sources to piece together a largely neglected segment of
                   contemporary Bosnian history… [which] provide critical insights into terrorist preferences, motives, and interests… The
                   book… is descriptive and empirically rich.”
               o Al-Qaida’s Jihad in Europe has consistently been used as a required or recommended course text in numerous
                   undergraduate and graduate courses in North America, Europe, and Australia, including the following courses:
                        ▪ (Spring 2005) - “Terrorism, Security, and Intelligence” (Harvard University’s Kennedy School of Government).3
                        ▪ (Fall 2006) - “South Asia, Al Qaeda and the Rise of International Terrorism” (School of Advanced International Studies at
                                Johns Hopkins University).4
                          ▪     (Spring 2007) – “Terrorism and Modern Society” (University of Kent, Canterbury campus).5
                          ▪     (Fall 2007) – “Jihad and the End of the World.” (Rice University)
                          ▪     (Spring 2008) – “Militant Islamism.” (Princeton University)

  •   Major Papers:
          o    “Trends in Anti-American Terrorism.” Co-authored with John Eubanks. Journal of Counterterrorism and Security
              International. January 1999.
          o “Pandering to Terrorists.” Co-authored with Rita Katz. Journal of Counterterrorism and Security International. Winter 1999.
          o “The Legacy of the Arab-Afghans: A Case Study.” Georgetown University International Politics Honors Thesis, April 2001.
          o “Arabian Gulf Financial Sponsorship of Al-Qaida via U.S.-Based Banks, Corporations, and Charities.” Testimony before the
              U.S. House Committee on Financial Services, Subcommittee on Oversight and Investigations. March 11, 2003.
          o “Gulbuddin Hekmatyar and Ahmad Shah Massoud: Islamic Patriots or Ambitious Opportunists?” Final course paper for Dr.
              Brian Spooner’s graduate seminar in “Afghanistan and Islamism” at the University of Pennsylvania. April 2004.
          o “The Bosnian Mujahideen: Origins, Training and Implications.” Published as a chapter in The Making of a Terrorist, edited by
              Director of Terrorism Studies at the United States Military Academy Dr. James JF Forest. Praeger Security International, 2005.
          o “Al-Qaida in Saudi Arabia: 2002-2003.” Occasional Report published by the Nine Eleven Finding Answers (NEFA)
              Foundation. December 2005.


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        http://www-hjs.pet.cam.ac.uk/sections/balkans/document.2005-04-28.6595030101
      2
        http://www.ciaonet.org/olj/psq/psq_fal05/
      3
        http://ksgnotes1.harvard.edu/degreeprog/courses.nsf/webnumber/ISP213
      4
        http://eres.sais-jhu.edu/coursepage.asp?cid=165
      5
        http://library.kent.ac.uk/library/readinglists/displaylist?module=SO594
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     Case 1:03-md-01570-GBD-SN                     Document 10594-38                Filed 12/09/24         Page 47 of 55

o   “The Role of Islamic Charities in International Terrorist Recruitment and Financing.” Danish Institute for International
    Studies (DIIS) Working Paper 2006; January 2006.
o   “The Afghan-Bosnian Mujahideen Network in Europe.” Paper presented before the Swedish National Defence College Center
    for Asymmetric Threats (CATS) Workshop; May 2006.
o   “The Jihadists of Pakistan: Jaish-e-Muhammad (JEM), Harakat ul-Mujahideen (HUM), and Anjuman Sipah-e-Sahaba
    (SSP).” Occasional Report published by the Nine Eleven Finding Answers (NEFA) Foundation. August 2006.
o   “The Real Online Terrorist Threat.” Foreign Affairs. Vol. 85; No. 5. September/October 2006.
o   “The North African Mujahideen Network of the Western Balkans.” Bosnian Security After Dayton: New Perspectives. Edited
    by Michael Innes. Routledge; October 2006.
o   “Two Decades of Jihad in Algeria: the GIA, the GSPC, and Al-Qaida.” Occasional Report published by the Nine Eleven
    Finding Answers (NEFA) Foundation. May 2007.
o   “State of the Sunni Insurgency in Iraq: August 2007.” Occasional Report published by the Nine Eleven Finding Answers
    (NEFA) Foundation. September 2007.
o   “Dossier: The Libyan Islamic Fighting Group (LIFG).” Occasional Report published by the Nine Eleven Finding Answers
    (NEFA) Foundation. October 2007.
o    “Al-Qaida’s ‘MySpace’: Terrorist Recruitment on the Internet.” CTC Sentinel. Vol 1. No. 2. January 2008. Combating
    Terrorism Center, United States Military Academy (West Point).
o   “Dossier: Shaykh Mustafa Abu al-Yazid (a.k.a. ‘Shaykh Saeed’).” Occasional Report published by the Nine Eleven Finding
    Answers (NEFA) Foundation. June 2008.
o   “An Interview with Ahmad Said al-Hamed, Spokesman for the Political Wing of ‘Hamas al-Iraq.’” Exclusive NBC News
    interview, a transcript of which was later published as an Occasional Report by the Nine Eleven Finding Answers (NEFA)
    Foundation. June 2008.
o   “An Interview with the Al-Rashideen Army.” Exclusive NBC News interview, a transcript of which was later published as an
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o   “An Interview with ‘the Islamic Army in Iraq’ (IAI).” Exclusive NBC News interview, a transcript of which was later published
    as an Occasional Report by the Nine Eleven Finding Answers (NEFA) Foundation. July 2008.
o   “Jihad Networks in Pakistan and Their Influence in Europe.” Presentation before the III International Course on “Jihad
    Terrorism: Contingency Plans and Response”, organized by the Pablo Olavide University and the Granada University in Spain;
    subsequently published as an Occasional Report by the Nine Eleven Finding Answers (NEFA) Foundation. July 2008.
o   “’Homegrown’ Terrorists: Theory and Cases in the War on Terror’s Newest Front.” Terrorism: What the Next President Will
    Face. The ANNALS of the American Academy of Political and Social Science. Vol. 618; No. 1. July 2008.
o   “Anatomy of a Modern Homegrown Terror Cell: Aabid Khan et al.” Occasional Report published by the Nine Eleven Finding
    Answers (NEFA) Foundation. September 2008.
o   “Inside As-Sahaab: The Story of Ali al-Bahlul and the Evolution of Al-Qaida’s Propaganda.” Occasional Report published by
    the Nine Eleven Finding Answers (NEFA) Foundation. December 2008.
o   “Pakistani militants deny role in Mumbai terror attacks: An Interview with Lashkar-e-Taiba.” NBC News. December 4, 2008.
o   “’The Eleven’: Saudi Guantanamo Veterans Returning to the Fight.” Occasional Report published by the Nine Eleven Finding
    Answers (NEFA) Foundation. February 2009.
o   “Shabaab al-Mujahideen: Migration and Jihad in the Horn of Africa.” Occasional Report published by the Nine Eleven
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o   “Sunni spokesman open to better ties with U.S.: An Interview with the Islamic Army of Iraq (IAI).” NBC News. August 13,
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o   “A Beacon for Extremists: The Ansar al-Mujahideen Web Forum.” CTC Sentinel. Vol 3.; No. 2. February 2010. Combating
    Terrorism Center, United States Military Academy (West Point).
o   “The Role of Saudi Arabian State-Sponsored Charitable Fronts in Providing Material Support to Foreign Paramilitary and
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o   “Al-Qaida Branches Out: A New Threat Evolves in Yemen.” Paper presented before a workshop organized by the National
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o   “Bringing Global Jihad to the Horn of Africa: al Shabaab, Western Fighters, and the Sacralization of the Somali Conflict.”
    (with Rafaello Pantucci and Lorenzo Vidino). African Security. Vol. 3; Issue 4. October 2010. Pages 216–238.
o   “Al-Qa`ida’s Yemeni Expatriate Faction in Pakistan.” CTC Sentinel. Vol 4.; No. 1. January 2011. Combating Terrorism
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o   “The Anti-Social Network.” Foreign Policy. May 23, 2011.
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o   “Beyond Bin Laden: The Future of Al-Qaida and U.S. Homeland Security.” Testimony before the U.S. House Committee on
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      Case 1:03-md-01570-GBD-SN                     Document 10594-38               Filed 12/09/24         Page 48 of 55




o   “The Antisocial Network: Countering the Use of Online Social Networking Technologies by Foreign Terrorist Organizations.”
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o   “Curbing the Web’s Wild West.” Harvard Law Review Forum. March 2013.
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o   “Why Savagery Doesn’t Sell.” Politico Magazine. August 21, 2014. http://www.politico.com/magazine/story/2014/08/isil-
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o   “Charlie Hebdo and the Jihadi Online Network: Assessing the Role of American Commercial Social Media Platforms.”
    Testimony before the U.S. House Committee on Foreign Affairs; Subcommittee on Terrorism, Nonproliferation, and Trade.
    January 27, 2015.
o   “Highlights from Exclusive Interview with Senior Yemeni Official.” Flashpoint. December 11, 2019.
o   “A Look at Iran’s Affiliate Groups in the Middle East.” Flashpoint. January 24, 2020.
o   “ISIS Operations Appear to be Unaffected by Death of al-Baghdadi.” Flashpoint. January 29, 2020.
o   “Exclusive Interview with Iraqi Shiite Insurgents Usbat al-Thaereen.” Flashpoint. August 2020.
o   “Profile and Exclusive Interview with Iraqi Shiite Insurgents Ashab al-Kahf." Flashpoint. August 2020.
o   "State-Sanctioned Hacktivism: The Syrian Electronic Army” in Cyber War & Cyber Peace in the Middle East: Digital Conflict
    in the Cradle of Civilization. Middle East Institute. October 2020. https://www.amazon.com/dp/B08KPVQN5M




                                                                        FBI PROTECTED MATERIAL REDACTED
      Case 1:03-md-01570-GBD-SN          Document 10594-38        Filed 12/09/24     Page 49 of 55




       In Re Terrorist Attacks on September 11, 2001 (03 MDL 1570) (GBD) (SN)
       APPENDIX 2 - EXPERT REPORT OF EVAN F. KOHLMANN (OCTOBER 4, 2023)


          LISTING OF RELIANCE MATERIALS AND MATERIALS CONSIDERED

No.                                              Description

       First Amended Complaint, The Underwriting Members of Lloyd’s Syndicates 2, et al. v. Al Rajhi
 1.    Bank, et al., Case No. 1:16-cv-07853-GBD-SN (S.D.N.Y.) (May 22, 2017).

       CIA_000038-000052 – Al-Qa’ida in Sudan, 1992-96: Old School Ties Lead Down Dangerous Paths
 2.    [REDACTED] (March 10, 2003).

       CIA_000143-000158 – Saudi-Based Financial Support for Terrorist Organizations [REDACTED]
 3.    (November 14, 2002).

       CIA_000193-000199 – Identifying Al-Qa’ida’s Donors and Fundraisers: A Status Report
 4.    [REDACTED] (February 27, 2002 ).

       CIA_000210-000236 – Intelligence Report, DCI Counterterrorist Center: Islamic Terrorists: Using
 5.    Nongovernmental Organizations Extensively (April 9, 1999).

       CIA_000306-000315 – Terrorism Finance: Custodial Interviews Providing Leads into Al-Qa’ida
 6.    Financial Network (August 7, 2002).

       CIA_000317-000338 – Usama Bin Ladin’s Finances: Some Estimates of Wealth, Income and
 7.    Expenditures [REDACTED] (November 17, 1998).

       CIA_000720-000804 – Intelligence Report, Office of Transnational Issues: Funding Islamic
 8.    Extremist Movements: The Role of Islamic Financial Institutions [REDACTED].

       CIA_000807-000848 – Intelligence Report, Office of Transnational Issues: Usama Bin Laden: Some
 9.    Saudi Financial Ties Probably Intact [REDACTED] (January 11, 1999).

       CIA-SUB_0001-0006 – Al-Rajhi Bank: Conduit for Extremist Finance [REDACTED] (May 28,
10.    2003).

       CIA-SUB_0007-0019 – Al-Haramain: Support for Extremists and Terrorists [REDACTED]
11.    (August 28, 2002).

       CIA-SUB_0020-0030 – Islamic Banking: A Potential Economic Enabler in the Muslim World
12.    [REDACTED] (May 21, 2004).

       CIA-SUB_0031-0033 – Taibah: Linking Extremists in the Balkans and the United States
13.    [REDACTED] (December 12, 2003).



                                                        FBI PROTECTED MATERIAL REDACTED
      Case 1:03-md-01570-GBD-SN          Document 10594-38         Filed 12/09/24     Page 50 of 55




       Press Room, U.S. Department of the Treasury – Remarks by Treasury Secretary Paul O’Neill on
14.    New U.S.-Saudi Arabia Terrorist Financing Designations (March 11, 2002).

       Press Room, U.S. Department of the Treasury – Treasury Announces Joint Action with Saudi Arabia
       Against Four Branches of Al-Haramain in the Fight Against Terrorist Financing (January 22,
15.    2004).

       Press Room, U.S. Department of the Treasury – Additional Al Haramain Branches, Former Leader
       Designated by Treasury as Al Qaida Supporters, Treasury Marks Latest Action in Joint Designation
16.    with Saudi Arabia (June 2, 2004).

       Press Room, U.S. Department of the Treasury – U.S.-Based Branch of Al Haramain Foundation
17.    Linked to Terror, Treasury Designates U.S. Branch, Director (September 9, 2004).

       Press Room, U.S. Department of the Treasury – Treasury Designates Al Haramain Islamic
18.    Foundation (June 19, 2008).

19.    TREASURY00009-00011 – Al Haramayn Islamic Foundation – Bosnia-Herzegovina.

       TREASURY00012-00016 – Memorandum for R. Newcomb, Director, Office of Foreign Assets
20.    Control re: Designation of Al-Haramain Foundation-Pakistan.

       TREASURY00017-00029 – Memorandum for R. Newcomb, Director, Office of Foreign Assets
       Control re: Designation of Al Haramain Foundation (AHF) branches in Afghanistan, Albania,
       Bangladesh, Ethiopia and the Netherlands and AHF’s leader Al-Aqil pursuant to the authorities of
21.    E.O. 13224.

22.    TREASURY00030-00036 – Al Haramain Islamic Foundation, Somalia (February 11, 2002).

       TREASURY00037-00054 – Memorandum for R. Newcomb, Director, Office of Foreign Assets
       Control re: Designation of Al-Haramain Foundation (AHF) locations in the United States, the
23.    Comoros Islands, and AHF official Soliman Al-Buthe pursuant to the authorities of E.O. 13224.

       TREASURY00087-00093 – Memorandum for R. Newcomb, Director, Office of Foreign Assets
24.    Control re: Additional Designations Pursuant to E.O. 13224: Al Haramain, Indonesia.

       TREASURY00094-00101 – Memorandum for R. Newcomb, Director, Office of Foreign Assets
25.    Control re: Additional Designations Pursuant to E.O. 13224: Al-Haramayn Kenya and Tanzania.

       Memorandum of Law in Support of Plaintiffs’ Second Motion to Compel the Production of
26.    Documents From Defendant Al Rajhi Bank (MDL ECF No. 8903) (March 3, 2023).

       Declaration of J. Scott Tarbutton Transmitting Documents in Support of Plaintiffs’ Second Motion
       to Compel the Production of Documents From Defendant Al Rajhi Bank (MDL ECF No. 8904)
27.    (March 3, 2023), including Exhibits 1-22.



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                                                         FBI PROTECTED MATERIAL REDACTED
      Case 1:03-md-01570-GBD-SN            Document 10594-38         Filed 12/09/24     Page 51 of 55




       Plaintiffs’ Letter Motion to Compel ARB to Produce Relevant Documents Responsive to Plaintiffs’
       Second Set of Jurisdictional Requests for Production of Documents (MDL ECF No. 9039) (April
28.    19, 2023).

       Declaration of J. Scott Tarbutton Transmitting Documents in Support of Plaintiffs’ April 19, 2023
       Motion to Compel the Production of Documents From Defendant Al Rajhi Bank (MDL ECF No.
29.    9040) (April 19, 2023), including Exhibits 1-7.

30.    United States District Court, Northern District of Georgia, Exhibit/Attachment 36.

       Transcript, Deposition of Abdullah bin Sulaiman al Rajhi (September 27, 2023), and Exhibits 26-63,
31.    In re: Terrorist Attacks on September 11, 2001, 03-MD-01570 (GBD)(SN).

       Exhibit 31 (ARB 31), September 27, 2023 Deposition of Abdullah bin Sulaiman al Rajhi, Plaintiffs’
32.    Summary Spreadsheet of Al Haramain Islamic Foundation Accounts at Al Rajhi Bank.

       Exhibit 32 (ARB 32), September 27, 2023 Deposition of Abdullah bin Sulaiman al Rajhi, Plaintiffs’
33.    Summary Spreadsheet of International Islamic Relief Organization Accounts at Al Rajhi Bank.

       Exhibit 50 (ARB 50), September 27, 2023 Deposition of Abdullah bin Sulaiman al Rajhi, Plaintiffs’
34.    Summary Spreadsheet of International Islamic Relief Organization Accounts at Al Rajhi Bank.

       Exhibit 57 (ARB 57), September 27, 2023 Deposition of Abdullah bin Sulaiman al Rajhi, Plaintiffs’
35.    Summary Spreadsheet of International Islamic Relief Organization Accounts at Al Rajhi Bank.

       Plaintiffs’ Summary Spreadsheet of Al Rajhi Bank Customer Account Transactions (ARB Tranche
36.    21).

       Transcript, Deposition of 30(b)(6) Al Rajhi Bank Designee James Galloway (May 11, 2023), and
37.    Exhibits 1-25, In re: Terrorist Attacks on September 11, 2001, 03-MD-01570 (GBD)(SN).

       Errata, Deposition of 30(b)(6) Al Rajhi Bank Designee James Galloway (May 11, 2023), In re:
38.    Terrorist Attacks on September 11, 2001, 03-MD-01570 (GBD)(SN), dated July 17, 2023.

       Transcript, Deposition of Adnan Basha (February 21, 2019), In re: Terrorist Attacks on September
39.    11, 2001, 03-MD-01570 (GBD)(SN).

40.    KSA 1234, 1685, 1687.

       NL 9623, 9625, 10068, 10086, 10088, 10091, 10094, 10097, 10108, 10139, 10145, 10161, 10166,
       10182, 10186, 10194, 10240, 10244, 10245, 10314, 10327, 10333, 10334, 10335, 10336, 10338,
       10348, 10349, 10350, 10384, 10423, 10447, 10455, 10456, 10457, 10458, 10460, 10462, 10463,
       10464, 10466, 10467, 10468, 10470, 10471, 10472, 10473, 10474, 10475, 10483, 10485, 10491,
41.    15043, 15044, 15045, 15046, 15048, 15572, 15578, 18775, 20452, 20453, 20454, 20470.

42.    White Paper – The Kingdom of Saudi Arabia and Counterterrorism (1996).


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                                                           FBI PROTECTED MATERIAL REDACTED
      Case 1:03-md-01570-GBD-SN          Document 10594-38         Filed 12/09/24     Page 52 of 55




       Federal Office of Criminal Investigation, Expert Report Concerning the Area – Financial
43.    Investigations – Relating to the Third World Relief Agency (TWRA) (August 28, 2003).

       Glenn Simpson, Terror Finance, U.S. Tracks Saudi Banks Favored by Extremists, The Wall Street
44.    Journal (July 26, 2007), and Excerpt from 2003 CIA Report.

       Glenn Simpson, List of Early al Qaeda Donors Points to Saudi Elite, Charities, The Wall Street
45.    Journal (March 18, 2003).

       The 9/11 Commission Report: Final Report of the National Commission on Terrorist Attack Upon
46.    the United States (July 22, 2004).

       Department of the Treasury Memorandum to R. Richard Newcomb regarding the Yassin al Kadi
47.    Designation Pursuant to E.O. 13224 (Treasury 00055-00086).

       Department of the Treasury Memorandum to R. Richard Newcomb regarding the Yassin al Kadi
48.    Designation Pursuant to E.O. 13224 (DOJ AR – 000003-000022).

       Al Jazirah, The Al-Haramain Islamic Foundation Launches a Donation Campaign for the
49.    Palestinians, Issue No. 10784 (April 8, 2002).

50.    Al Minbar, Achievements of the Al-Haramain Islamic Foundation in Palestine.

       Susan Schmidt, Spreading Saudi Fundamentalism in U.S., Network of Wahhabi Mosques, Schools,
51.    Web Sites Probed by FBI, Washington Post (October 2, 2003).

52.    David Rennie, Hijackers in Same Hotel as Saudi Minister, The Telegraph (October 2, 2003).

       Agence France Presse, Saudi Arabia’s Top Islamic Charity Denies Any of its Assets Frozen (March
53.    13, 2002).

54.    38th Annual ISNA Convention Program, Chicago, Illinois (September 1, 2001).

       The Committee for the Defense of Legitimate Rights (“CDLR”), Your Right to Know. CDLR
55.    Monitor. No. 30 (January 13, 1995).

       DIGOS (Italy) Anti-Terrorism Report, Searches at the Islamic Cultural Center, Viale Jenner 50,
56.    Milano, 6/26/1995 (September 15, 1997).

57.    IIRO 315040

58.    WAMY INTL E001481

59.    WAMYSA 502115

60.    Declaration of Omar T. Mohammedi Pursuant to Opinion and Order (MDL ECF No. 4465).


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                                                         FBI PROTECTED MATERIAL REDACTED
  Case 1:03-md-01570-GBD-SN          Document 10594-38        Filed 12/09/24    Page 53 of 55




61.   Exhibit 19 (MDL ECF No. 4465-19).

62.   Al Rajhi Bank Tranche 1 (ARB-00000001-00000005), English translations.

63.   Al Rajhi Bank Tranche 2 (ARB-00000006-00000015), English translations.

64.   Al Rajhi Bank Tranche 3 (ARB-00000016-00001050), English translations.

65.   Al Rajhi Bank Tranche 4 (ARB-00001051-00001361), English translations.

66.   Al Rajhi Bank Tranche 5 (ARB-00001362-00001593), English translations.

67.   Al Rajhi Bank Tranche 6 (ARB-00001594-00002930), English translations.

68.   Al Rajhi Bank Tranche 7 (ARB-00002931-00006268), English translations.

69.   Al Rajhi Bank Tranche 8 (ARB-00006269-00013367), English translations.

70.   Al Rajhi Bank Tranche 9 (ARB-00013368-00013813), English translations.

71.   Al Rajhi Bank Tranche 10 (ARB-00013814-00014581), English translations.

72.   Al Rajhi Bank Tranche 12 (ARB-00017318-00017580), English translations.

73.   Al Rajhi Bank Tranche 14 (ARB-00023305-00039552), English translations.

74.   Al Rajhi Bank Tranche 15 (ARB-00039553-00039947), English translations.

75.   Al Rajhi Bank Tranche 16 (ARB-00039948-00039959), English translations.

76.   Al Rajhi Bank Tranche 17 (ARB-00039960), English translation.

77.   Al Rajhi Bank Tranche 18 (ARB-00039961).

78.   Al Rajhi Bank Tranche 19 (ARB-00039962-40281), English translations.

79.   Al Rajhi Bank Tranche 20 (ARB-00040282-00040443), English translations.

80.   ARB 42119-42126, English translations.

81.   ARB 42189-42216, English translations.

82.   ARB 42217-42218, English translations.

83.   ARB 42219-42245, English translations.

84.   ARB 42246-42249, English translations.


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                                                    FBI PROTECTED MATERIAL REDACTED
       Case 1:03-md-01570-GBD-SN              Document 10594-38           Filed 12/09/24      Page 54 of 55




85.      2012 FBI Summary Report (MDL ECF No. 6292-1).

86.      EO14040 24.

87.      EO14040 158.

88.      EO14040 279.

89.      EO14040 290.

90.      EO14040 365.

91.      EO14040 375.

92.      EO14040 475.

93.      EO14040 2638-2643.

94.      EO14040 2797-2815.

95.      EO14040 3414-3442.

96.      EO14040 3465-3472.

97.      EO14040 3478-3608.

98.      EO14040 2857-2863-MDL.

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        All additional documents and materials expressly cited in the body and footnotes of my expert
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